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              EXHIBIT 6
                              Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 2 of 104


Order       Project       Project                   Workin Album Title                         Disc #       Track #
            release                                 g Track
                                                    (Song)
                                                    Title

        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1          1
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1          2
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1          3
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1          4
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1          5
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1          6
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1          7
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1          8
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1          9
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1         10
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1         11
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1         12
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1         13
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1         14
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1         15
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1         16
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1         17
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1         18
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1         19
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1         20
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1         21
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1         22
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1         23
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1         24
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1         25
        1     6/11/2002   Halo CE                          Halo Original Soundtrack                     1         26
        2     11/9/2004   Halo 2                           Halo 2 - Vol 1                               1          1
        2     11/9/2004   Halo 2                           Halo 2 - Vol 1                               1          2
        2     11/9/2004   Halo 2                           Halo 2 - Vol 1                               1          3
                             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 3 of 104


Song Title                                             Performing Artist(s)




Opening Suite (Monks ~00:11 - ~01:07)                  none listed in ASCAP - on CD - Robert Bowker, Jeffrey Morrow, and Rob Trow listed.
Truth and Reconciliation Suite                         Martin O'Donnell and Michael Salvatori
Brothers in Arms                                       Martin O'Donnell and Michael Salvatori
Enough Dead Heroes                                     Martin O'Donnell and Michael Salvatori
Perilous Journey                                       Martin O'Donnell and Michael Salvatori
A Walk in the Woods                                    Martin O'Donnell and Michael Salvatori
Ambient Wonder                                         Martin O'Donnell and Michael Salvatori
The Gun Pointed at the Head of the Universe            Martin O'Donnell and Michael Salvatori
Trace Amounts                                          Martin O'Donnell and Michael Salvatori
Under Cover of Night                                   ZLATOFF-MIRSKY, GOLUB, HOWELL, O'DONNELL, SALVATOR
What Once Was Lost                                     Martin O'Donnell and Michael Salvatori
Lament for Pvt. Jenkins                                Martin O'Donnell and Michael Salvatori
Devils... Monsters                                     Martin O'Donnell and Michael Salvatori
Covenant Dance                                         ZLATOFF-MIRSKY, GOLUB, HOWELL, O'DONNELL, SALVATOR
Alien Corridors                                        ZLATOFF-MIRSKY, GOLUB, HOWELL, O'DONNELL, SALVATOR
Rock Anthem for Saving the World                       ZLATOFF-MIRSKY, GOLUB, HOWELL, O'DONNELL, SALVATOR
The Maw                                                Martin O'Donnell and Michael Salvatori
Drumrun                                                Martin O'Donnell and Michael Salvatori
On A Pale Horse                                        Martin O'Donnell and Michael Salvatori
Perchance to Dream                                     Martin O'Donnell and Michael Salvatori
Library Suite                                          Martin O'Donnell and Michael Salvatori
The Long Run                                           Martin O'Donnell and Michael Salvatori
Suite Autumn                                           Martin O'Donnell and Michael Salvatori
Shadows                                                Martin O'Donnell and Michael Salvatori
Dust and Echoes                                        Martin O'Donnell and Michael Salvatori
Halo                                                   Martin O'Donnell and Michael Salvatori
Halo Theme Mjolnir Mix                                 Martin O'Donnell & Michael Salvatori & Steve Vai (guitar)
Blow Me Away - Breaking Benjamin                       Breaking Benjamin (courtesy of Hollywood Records, Inc)
Peril                                                  Martin O'Donnell & Michael Salvatori
                              Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 4 of 104


Writer(s)                                Societ   IPI # from web   Societ ISWC: ICE    Publisher   Pub         Society IPI# from Malia
                                                  for writers                                      Confirmed
                                         y                         y            code   (s)
                                                                   Confir
                                                                   med
                                                                   by MJ
Martin O'Donnell and Michael Salvatori   ASCAP O'Donnell (126846560)
                                                            ASCAP/100%
                                                                   T0730491414
                                                                     Salvatori
                                                                        - In Buma/Stemra=Warner
                                                                              1E+07
                                                                               (130210548)
                                                                                  , T0726408305
                                                                                     MS         Microsoft
                                                                                                 (Halo
                                                                                                   Chappel
                                                                                                       Track
                                                                                                          Music
                                                                                                           ASCAP
                                                                                                            Holland
                                                                                                             9), T0726398000
                                                                                                                  Publishing 349532445
                                                                                                                              (Halo Track 13), T9134882614
Martin O'Donnell and Michael Salvatori                                               MS
Martin O'Donnell and Michael Salvatori                                               MS
Martin O'Donnell and Michael Salvatori                                               MS
Martin O'Donnell and Michael Salvatori                                               MS
Martin O'Donnell and Michael Salvatori                                               MS
Martin O'Donnell and Michael Salvatori                                               MS
Martin O'Donnell and Michael Salvatori                                               MS
Martin O'Donnell and Michael Salvatori                                               MS
Martin O'Donnell and Michael Salvatori   ASCAP              ASCAP/100%               MS         Microsoft Music
                                                                                                           ASCAPPublishing
Martin O'Donnell and Michael Salvatori                                               MS
Martin O'Donnell and Michael Salvatori                                               MS
Martin O'Donnell and Michael Salvatori                                               MS
Martin O'Donnell and Michael Salvatori   ASCAP O'Donnell (126846560)
                                                            ASCAP/100%
                                                                   T0726097728
                                                                     Salvatori1E+07
                                                                               (130210548)
                                                                                     MS         Microsoft Music
                                                                                                           ASCAPPublishing 349532445
Martin O'Donnell and Michael Salvatori   ASCAP O'Donnell (126846560)
                                                            ASCAP/100%
                                                                   T0725943963
                                                                     Salvatori1E+07
                                                                               (130210548)
                                                                                     MS         Microsoft Music
                                                                                                           ASCAPPublishing 349532445
Martin O'Donnell and Michael Salvatori   ASCAP              ASCAP/100%               MS         Microsoft Music
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Martin O'Donnell and Michael Salvatori                                               MS
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Martin O'Donnell and Michael Salvatori                                               MS
Martin O'Donnell and Michael Salvatori                                               MS
Martin O'Donnell and Michael Salvatori                                               MS
Martin O'Donnell and Michael Salvatori                                               MS
Benjamin Bumley                          ASCAP              ASCAP/100%               Breaking Benjamin Music
                                                                                                           ASCAP
                                                                                                              and Seven Peaks Music
Martin O'Donnell and Michael Salvatori   ASCAP              ASCAP/100%
                                                                   T0726757716 MS               Microsoft Music Publishing
                               Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 5 of 104


Notes             Malia Questions




Done while working at Bungie - and might have been subcontracted
                                                            Listed on CP
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                                                                         3382306
                                                                              TotalAudio; According to Buma/stemra : Warner Chappel Music Holland BV = Performing
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                                                                              TotalAudio - According to Bummstemra : Warner Chappel Music Holland BV = Performin
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                                                                              TotalAudio
Nile Rodgers help produced                                  Listed on CP 3382306
Nile Rodgers help produced
                  In ASCAP - this is registered as being written by Burnley Benjamin, Aaron Fincke, Jeremy Hummel, and Mark Klepaski - and the MS is not listed as th
Nile Rodgers help produced                                  Listed on CP 3382306
                                          Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 6 of 104




d the MS is not listed as the publisher
                                Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 7 of 104


Order         Project       Project                   Workin Album Title                         Disc #       Track #
              release                                 g Track
                                                      (Song)
                                                      Title

          2     11/9/2004   Halo 2                              Halo 2 - Vol 1                            1          4
          2     11/9/2004   Halo 2                              Halo 2 - Vol 1                            1          5
          2     11/9/2004   Halo 2                              Halo 2 - Vol 1                            1          6
          2     11/9/2004   Halo 2                              Halo 2 - Vol 1                            1          7
          2     11/9/2004   Halo 2                              Halo 2 - Vol 1                            1          8
          2     11/9/2004   Halo 2                              Halo 2 - Vol 1                            1          9
          2     11/9/2004   Halo 2                              Halo 2 - Vol 1                            1         10
          2     11/9/2004   Halo 2                              Halo 2 - Vol 1                            1         11
          2     11/9/2004   Halo 2                              Halo 2 - Vol 1                            1         12
          2     11/9/2004   Halo 2                              Halo 2 - Vol 1                            1         13
          2     11/9/2004   Halo 2                              Halo 2 - Vol 1                            1         14
          2     11/9/2004   Halo 2                              Halo 2 - Vol 1                            1         15
          2     11/9/2004   Halo 2                              Halo 2 - Vol 1                            1         16
          2     11/9/2004   Halo 2                              Halo 2 - Vol 1                            1         17
          2     11/9/2004   Halo 2                              Halo 2 - Vol 1                            1         18
          2     11/9/2004   Halo 2                              Halo 2 - Vol 1                            1         19
          2     11/9/2004   Halo 2                              Halo 2 - Vol 1                            1         20
          2     11/9/2004   Halo 2                              Halo 2 - Vol 1                            1         21
        2.5    12/14/2005   n/a                       Groove 1 n/a                               n/a          n/a
        2.5    12/14/2005   n/a                       Dream n/a                                  n/a          n/a
        2.5    12/14/2005   n/a                       Menace n/a                                 n/a          n/a
        2.5    12/14/2005   n/a                       Bad Dreamn/a                               n/a          n/a
        2.5    12/14/2005   n/a                       Bomay n/a                                  n/a          n/a
        2.5    12/14/2005   n/a                       Afro Perc n/a                              n/a          n/a
        2.5    12/14/2005   n/a                       Mil Perc n/a                               n/a          n/a
        2.5    12/14/2005   n/a                       Lo Pulse n/a                               n/a          n/a
        2.5    12/14/2005   n/a                       Pulse Jig n/a                              n/a          n/a
        2.5    12/14/2005   n/a                       Hope      n/a                              n/a          n/a
        2.5    12/14/2005   n/a                       Drums n/a                                  n/a          n/a
                             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 8 of 104


Song Title                                             Performing Artist(s)




Ghosts of Reach                                        Martin O'Donnell & Michael Salvatori
Follow (1st Movement Of The Odyssey) - Incubus         Incubus (Brandon Boyd, Michael Einziger, DJ Kilmore, Ben Kenney, Jose Pasilas II)
Heretic, Hero                                          Martin O'Donnell & Michael Salvatori
Flawed Legacy                                          Martin O'Donnell & Michael Salvatori
Impend                                                 Martin O'Donnell & Michael Salvatori
Never Surrender - Nile Rodgers                         Nile Rodgers & Nataraj & Steve Vai (guitar)
Ancient Machine                                        Martin O'Donnell & Michael Salvatori
2nd Movement Of The Odyssey - Incubus                  Incubus (Brandon Boyd, Michael Einziger, DJ Kilmore, Ben Kenney, Jose Pasilas II)
In Amber Clad                                          Martin O'Donnell & Michael Salvatori
The Last Spartan                                       Martin O'Donnell & Michael Salvatori
Orbit of Glass                                         Martin O'Donnell & Michael Salvatori
3rd Movement Of The Odyssey - Incubus                  Incubus and Flea (Trumpet)
Heavy Price Paid                                       Martin O'Donnell & Michael Salvatori
Earth City                                             Martin O'Donnell & Michael Salvatori
High Charity                                           Martin O'Donnell & Michael Salvatori
4th Movement Of The Odyssey - Incubus                  Incubus
Remembrance                                            Martin O'Donnell & Michael Salvatori
Connected - Hoobastank                                 Hoobastank
n/a                                                    Martin O'Donnell and Michael Salvatori
n/a                                                    Martin O'Donnell and Michael Salvatori
n/a                                                    Martin O'Donnell and Michael Salvatori
n/a                                                    Martin O'Donnell and Michael Salvatori
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n/a                                                    Martin O'Donnell and Michael Salvatori
                              Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 9 of 104


Writer(s)                                   Societ   IPI # from web   Societ ISWC: ICE    Publisher   Pub         Society IPI# from Malia
                                                     for writers                                      Confirmed
                                            y                         y            code   (s)
                                                                      Confir
                                                                      med
                                                                      by MJ
Martin O'Donnell and Michael Salvatori        ASCAP                                           MS
Martin O'Donnell and Michael Salvatori (halo theme)
                                              ASCAP & Incubus (Brandon
                                                                    ASCAP/100%
                                                                          Boyd, Michael Einziger,
                                                                                              Hunglikeyorka
                                                                                                  Ben Kenney,
                                                                                                            Music
                                                                                                              Jose Pasilias
                                                                                                                   ASCAP II, and DJ Kilmore)
Martin O'Donnell and Michael Salvatori                                                        MS
Martin O'Donnell and Michael Salvatori                                                        MS
Martin O'Donnell and Michael Salvatori                                                        MS
Martin O'Donnell and Michael Salvatori, Nataraj, and Nile Rodgers                             Sony ATV LLC/Vitamin L Music, Microsoft Music Publishing
Martin O'Donnell and Michael Salvatori                                                        MS
Incubus (Brandon Boyd, Michael Einziger, BenASCAP
                                               Kenney, Jose PasiliasASCAP/100%
                                                                    II, and DJ Kilmore)       Hunglikeyorka Music ASCAP
Martin O'Donnell and Michael Salvatori                                                        MS
Martin O'Donnell and Michael Salvatori                                                        MS
Martin O'Donnell and Michael Salvatori                                                        MS
Incubus (Brandon Boyd, Michael Einziger, BenASCAP
                                               Kenney, Jose PasiliasASCAP/100%
                                                                    II, and DJ Kilmore) and Flea
                                                                                              Hunglikeyorka Music ASCAP
Martin O'Donnell and Michael Salvatori                                                        MS
Martin O'Donnell and Michael Salvatori                                                        MS
Martin O'Donnell and Michael Salvatori                                                        MS
Incubus (Brandon Boyd, Michael Einziger, BenASCAP
                                               Kenney, Jose PasiliasASCAP/100%
                                                                    II, and DJ Kilmore)       Hunglikeyorka Music ASCAP
Martin O'Donnell and Michael Salvatori                                                        MS
Music by Daniel Estrin and Lyrics by Douglas Robb
                                              ASCAP                                           Spread Your Cheeks and Push Out The Music Warner/Chappell
Martin O'Donnell and Michael Salvatori
Martin O'Donnell and Michael Salvatori
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                              Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 10 of 104


Notes             Malia Questions




Nile Rodgers help produced                                Listed on CP 3382306
Nile Rodgers help produced
                   In ASCAP Hunglikeyora Music is publisher. ASCAP lists Brandon Boyd, Michael Einziger, Benjamin Kenney, Christopher Kilmore, and Jose Pasillas as w
Nile Rodgers help produced                                Listed on CP 3382306
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Never released titles                                     Listed on CP 3382306
                                    Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 11 of 104




ore, and Jose Pasillas as writers
                                  Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 12 of 104


Order         Project       Project                     Workin Album Title                         Disc #   Track #
              release                                   g Track
                                                        (Song)
                                                        Title

        2.5    12/14/2005   n/a                         Groove 3 n/a                               n/a      n/a
        2.5    12/14/2005   n/a                         Dirge      n/a                             n/a      n/a
        2.5    12/14/2005   n/a                         Rhythm Shadn/a                             n/a      n/a
        2.5    12/14/2005   n/a                         Backrhodes n/a                             n/a      n/a
        2.5    12/14/2005   n/a                         Borealis n/a                               n/a      n/a
        2.5    12/14/2005   n/a                         Flashback n/a                              n/a      n/a
        2.5    12/14/2005   n/a                         Helium Queen
                                                                   n/a                             n/a      n/a
        2.5    12/14/2005   n/a                         Ionizer n/a                                n/a      n/a
        2.5    12/14/2005   n/a                         Spook 1 n/a                                n/a      n/a
        2.5    12/14/2005   n/a                         Spook 2 n/a                                n/a      n/a
        2.5    12/14/2005   n/a                         Spook 3 n/a                                n/a      n/a
        2.5    12/14/2005   n/a                         Spook 4 n/a                                n/a      n/a
        2.5    12/14/2005   n/a                         Spook 5 n/a                                n/a      n/a
        2.5    12/14/2005   n/a                         Confused n/a                               n/a      n/a
        2.5    12/14/2005   n/a                         Glue       n/a                             n/a      n/a
        2.5    12/14/2005   n/a                         Hi moans n/a                               n/a      n/a
        2.5    12/14/2005   n/a                         Lo moans n/a                               n/a      n/a
        2.5    12/14/2005   n/a                         More Strings
                                                                   n/a                             n/a      n/a
        2.5    12/14/2005   n/a                         New Chantn/a                               n/a      n/a
        2.5    12/14/2005   n/a                         Sad Stringsn/a                             n/a      n/a
        2.5    12/14/2005   n/a                         Driven n/a                                 n/a      n/a
        2.5    12/14/2005   n/a                         Stingers n/a                               n/a      n/a
        2.5    12/14/2005   n/a                         Underwater n/a                             n/a      n/a
        2.5    12/14/2005   n/a                         Women Choirn/a                             n/a      n/a
        2.5    12/14/2005   n/a                         Battle Endn/a                              n/a      n/a
        2.5    12/14/2005   n/a                         Heat       n/a                             n/a      n/a
        2.5    12/14/2005   n/a                         Sad Fanfaren/a                             n/a      n/a
        2.5    12/14/2005   n/a                         Sad Vox Strings
                                                                   n/a                             n/a      n/a
        2.5    12/14/2005   n/a                         Slow Heatn/a                               n/a      n/a
             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 13 of 104


Song Title                             Performing Artist(s)




n/a                                    Martin O'Donnell and Michael Salvatori
n/a                                    Martin O'Donnell and Michael Salvatori
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n/a                                    Martin O'Donnell and Michael Salvatori
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n/a                                    Martin O'Donnell and Michael Salvatori
n/a                                    Martin O'Donnell and Michael Salvatori
n/a                                    Martin O'Donnell and Michael Salvatori
n/a                                    Martin O'Donnell and Michael Salvatori
n/a                                    Martin O'Donnell and Michael Salvatori
                             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 14 of 104


Writer(s)                                Societ   IPI # from web   Societ ISWC: ICE    Publisher   Pub         Society IPI# from Malia
                                                  for writers                                      Confirmed
                                         y                         y            code   (s)
                                                                   Confir
                                                                   med
                                                                   by MJ
Martin O'Donnell and Michael Salvatori
Martin O'Donnell and Michael Salvatori
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Martin O'Donnell and Michael Salvatori
Martin O'Donnell and Michael Salvatori
                            Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 15 of 104


Notes             Malia Questions




Never released titles                           Listed on CP 3382306
Never released titles                           Listed on CP 3382306
Never released titles                           Listed on CP 3382306
Never released titles                           Listed on CP 3382306
Never released titles                           Listed on CP 3382306
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Never released titles                           Listed on CP 3382306
Never released titles                           Listed on CP 3382306
                                Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 16 of 104


Order         Project       Project                   Workin Album Title                         Disc #       Track #
              release                                 g Track
                                                      (Song)
                                                      Title

        2.5    12/14/2005   n/a                       Slow Stringn/a
                                                                  Thing                          n/a          n/a
          2     4/25/2006   Halo 2                               Halo 2 - Vol 2                           2          1
          2     4/25/2006   Halo 2                               Halo 2 - Vol 2                           2          2
          2     4/25/2006   Halo 2                               Halo 2 - Vol 2                           2          3
          2     4/25/2006   Halo 2                               Halo 2 - Vol 2                           2          4
          2     4/25/2006   Halo 2                               Halo 2 - Vol 2                           2          5
          2     4/25/2006   Halo 2                               Halo 2 - Vol 2                           2          6
          2     4/25/2006   Halo 2                               Halo 2 - Vol 2                           2          7
          2     4/25/2006   Halo 2                               Halo 2 - Vol 2                           2          8
          2     4/25/2006   Halo 2                               Halo 2 - Vol 2                           2          9
          2     4/25/2006   Halo 2                               Halo 2 - Vol 2                           2         10
          2     4/25/2006   Halo 2                               Halo 2 - Vol 2                           2         11
          2     4/25/2006   Halo 2                               Halo 2 - Vol 2                           2         12
          3    11/20/2007   Halo 3                               Halo 3                                   1          1
          3    11/20/2007   Halo 3                               Halo 3                                   1          2
          3    11/20/2007   Halo 3                               Halo 3                                   1          3
          3    11/20/2007   Halo 3                               Halo 3                                   1          4
          3    11/20/2007   Halo 3                               Halo 3                                   1          5
          3    11/20/2007   Halo 3                               Halo 3                                   1          6
          3    11/20/2007   Halo 3                               Halo 3                                   1          7
          3    11/20/2007   Halo 3                               Halo 3                                   1          8
          3    11/20/2007   Halo 3                               Halo 3                                   1          9
          3    11/20/2007   Halo 3                               Halo 3                                   1         10
          3    11/20/2007   Halo 3                               Halo 3                                   1         11
          3    11/20/2007   Halo 3                               Halo 3                                   1         12
          3    11/20/2007   Halo 3                               Halo 3                                   1         13
          3    11/20/2007   Halo 3                               Halo 3                                   1         14
          3    11/20/2007   Halo 3                               Halo 3                                   1         15
          3    11/20/2007   Halo 3                               Halo 3                                   2          1
                             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 17 of 104


Song Title                                                        Performing Artist(s)




n/a                                                                 Martin O'Donnell and Michael Salvatori
Prologue (Rising/ Cloistered Expectancy/ Weight of Failure)         Martin O'Donnell and Michael Salvatori (Northwest Sinfonia as needed)
Cairo Suite (Cold Blue Light/ Waking Spartan/ Jeweled Hull/ Chill Experience)
                                                                    Martin O'Donnell and Michael Salvatori (Northwest Sinfonia as needed)
Mombasa Suite (Metropole/Broken Gates/Encounter)                    Martin O'Donnell and Michael Salvatori (Northwest Sinfonia as needed)
Unyielding                                                          Martin O'Donnell and Michael Salvatori (Northwest Sinfonia as needed)
Mausoleum Suite (Destroyer's Invocation/ Falling Up/ Infected / Shudder)
                                                                    Martin O'Donnell and Michael Salvatori (Northwest Sinfonia as needed)
Unforgotten                                                         Martin O'Donnell and Michael Salvatori (Northwest Sinfonia as needed)
Delta Halo Suite (Penance/ Wage/ Leonidas/ Dust and Bones)          Martin O'Donnell and Michael Salvatori (Northwest Sinfonia as needed)
Sacred Icon Suite (Cortege/ Opening Volley/ Veins of Stone)         Martin O'Donnell and Michael Salvatori (Northwest Sinfonia as needed)
Reclaimer                                                           Guitar performance by Steve Vai and Martin O'Donnell and Michael Salvatori (Northwest Sinfonia
High Charity Suite (Rue and Woe/ Respite/ Antediluvia/ Pursuit of Truth)
                                                                    Martin O'Donnell and Michael Salvatori (Northwest Sinfonia as needed)
Finale (Great Journey/ Thermopylae Soon))                           Martin O'Donnell and Michael Salvatori (Northwest Sinfonia as needed)
Epilogue (Beholden/ Road to Val/ Subsume)                           Martin O'Donnell and Michael Salvatori (Northwest Sinfonia as needed)
Arrival (Luck)                                                      Martin O'Donnell and Michael Salvatori
Sierra 117 (Released/Wild Life*/Another Walk)                       Martin O'Donnell and Michael Salvatori (*C Paul Johnson as additional compose, producer and pe
Sierra 117 (Infiltrate/ Move On)                                    Martin O'Donnell and Michael Salvatori
Crow's Nest (Honorable Intentions)                                  Martin O'Donnell and Michael Salvatori
Crow's Nest (Last of the Brave/Cold Logic*/Cold Temperament) Martin O'Donnell and Michael Salvatori (*C Paul Johnson as additional compose, producer and pe
Crow's Nest (Brutes/Lost/Dream Again/We're Done Here)               Martin O'Donnell and Michael Salvatori
Tsavo Highway (Out of Shadow/Into Light)                            Martin O'Donnell and Michael Salvatori
Tsavo Highway (To Kill a Demon*/Ancient Dust/Punch Through/Underestimated)
                                                                    Martin O'Donnell and Michael Salvatori (*C Paul Johnson as additional compose, producer and pe
The Storm (This is Our Land/To Turn a Tide/ Innocents og Voi*)      Martin O'Donnell and Michael Salvatori (*C Paul Johnson as additional compose, producer and pe
The Storm (This is the Hour)                                        Martin O'Donnell and Michael Salvatori
Floodgate (Dread Intrusion/Black Tide/Old Friend)                   Martin O'Donnell and Michael Salvatori
Floodgate (Follow Our Brothers)                                     Martin O'Donnell and Michael Salvatori
The Ark (Farthest Outpost/No Time for Sightseeing/Make Them Pay)    Martin O'Donnell and Michael Salvatori
The Ark (Behold a Pale Horse/Reconciled/Overcome/Small Victory)Martin O'Donnell and Michael Salvatori
The Ark (Edge Closer)                                               Martin O'Donnell and Michael Salvatori
The Covenant (Three Gates/Ascent/Leonidas Returns)                  Martin O'Donnell and Michael Salvatori
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Writer(s)                                  Societ   IPI # from web   Societ ISWC: ICE    Publisher   Pub         Society IPI# from Malia
                                                    for writers                                      Confirmed
                                           y                         y            code   (s)
                                                                     Confir
                                                                     med
                                                                     by MJ
Martin O'Donnell and Michael Salvatori
Martin O'Donnell and Michael Salvatori       ASCAP                 ASCAP/100%              MS        Microsoft Music
                                                                                                               ASCAPPublishing
Martin O'Donnell and Michael Salvatori       ASCAP O'Donnell (126846560)
                                                                   ASCAP/100%
                                                                          T0730456435
                                                                            Salvatori1E+07
                                                                                      (130210548)
                                                                                         and
                                                                                           MST9134351056
                                                                                                     Microsoft Music
                                                                                                               ASCAPPublishing   349532445
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori       ASCAP                 ASCAP/100%              MS        Microsoft Music
                                                                                                               ASCAPPublishing
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori       ASCAP O'Donnell (126846560)
                                                                   ASCAP 100%
                                                                          T0730500089
                                                                            Salvatori (130210548)
                                                                                           MS        Microsoft Music
                                                                                                               ASCAPPublishing   349532445
Martin O'Donnell and Michael Salvatori       ASCAP                 ASCAP/100%              MS        Microsoft Music
                                                                                                               ASCAPPublishing   349532445
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori       ASCAP O'Donnell (126846560)
                                                                   ASCAP/100%
                                                                          T0733283301
                                                                            Salvatori1E+07
                                                                                      (130210548)
                                                                                           MS        Microsoft Music
                                                                                                               ASCAPPublishing   349532445
Martin O'Donnell and Michael Salvatori (*C Paul Johnson as additional compose, producer andMS
                                                                                            performer)
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori (*C Paul Johnson as additional compose, producer andMS
                                                                                            performer)
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori (*C Paul Johnson as additional compose, producer andMS
                                                                                            performer)
Martin O'Donnell and Michael Salvatori (*C Paul Johnson as additional compose, producer andMS
                                                                                            performer)
Martin O'Donnell and Michael Salvatori       ASCAP 126846560 , 130210548
                                                                   ASCAP/100%, 528036364 MS          Microsoft Music
                                                                                                               ASCAPPublishing
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori                                                     MS
                            Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 19 of 104


Notes            Malia Questions




Never released titles                                 Listed on CP 3382306
Produced by Nile Rodgers
Produced by Nile Rodgers
Produced by Nile Rodgers
Produced by Nile Rodgers
Produced by Nile Rodgers
Produced by Nile Rodgers
Produced by Nile Rodgers
Produced by Nile Rodgers
Produced by Nile Rodgers
Produced by Nile Rodgers
Produced by Nile Rodgers
Produced by Nile Rodgers
According to Buma/stemra : Warner Chappel Music Holland BV = Performing (00005876576) ; - Martin & Michael owned Mechanical Rights (no society listed); SOCAN




                 Paul Johnson is NOT listed on Sumthing Else
                                      Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 20 of 104




(no society listed); SOCAN lists Warner Chappel Music SOCAN (219747543)
                             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 21 of 104


Order       Project       Project                  Workin Album Title                         Disc #       Track #
            release                                g Track
                                                   (Song)
                                                   Title

        3    11/20/2007   Halo 3                          Halo 3                                       2          2
        3    11/20/2007   Halo 3                          Halo 3                                       2          3
        3    11/20/2007   Halo 3                          Halo 3                                       2          4
        3    11/20/2007   Halo 3                          Halo 3                                       2          5
        3    11/20/2007   Halo 3                          Halo 3                                       2          6
        3    11/20/2007   Halo 3                          Halo 3                                       2          7
        3    11/20/2007   Halo 3                          Halo 3                                       2          8
        3    11/20/2007   Halo 3                          Halo 3                                       2          9
        3    11/20/2007   Halo 3                          Halo 3                                       2         10
        3    11/20/2007   Halo 3                          Halo 3                                       2         11
        3    11/20/2007   Halo 3                          Halo 3                                       2         12
        3    11/20/2007   Halo 3                          Halo 3                                       2         13
        3    11/20/2007   Halo 3                          Halo 3                                       2         14
        3    11/20/2007   Halo 3                          Halo 3                                       2         15
        3    11/20/2007   Halo 3                          Halo 3                                       2         16
        3    11/20/2007   Halo 3                          Halo 3                                       2         17
        4     2/17/2009   Halo Wars                       Halo Wars                                    1          3
        4     2/17/2009   Halo Wars                       Halo Wars                                    1          4
        4     2/17/2009   Halo Wars                       Halo Wars                                    1          5
        4     2/17/2009   Halo Wars                       Halo Wars                                    1          6
        4     2/17/2009   Halo Wars                       Halo Wars                                    1          7
        4     2/17/2009   Halo Wars                       Halo Wars                                    1          8
        4     2/17/2009   Halo Wars                       Halo Wars                                    1          9
        4     2/17/2009   Halo Wars                       Halo Wars                                    1         10
        4     2/17/2009   Halo Wars                       Halo Wars                                    1         11
        4     2/17/2009   Halo Wars                       Halo Wars                                    1         12
        4     2/17/2009   Halo Wars                       Halo Wars                                    1         13
        4     2/17/2009   Halo Wars                       Halo Wars                                    1         14
        4     2/17/2009   Halo Wars                       Halo Wars                                    1         15
                            Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 22 of 104


Song Title                                                  Performing Artist(s)




The Covenant (Black Tower/Heroes Also Fall)                 Martin O'Donnell and Michael Salvatori
The Covenant (One Final Effort)                             Martin O'Donnell and Michael Salvatori
The Covenant (Gravemind/Fated Journey/Flee/Familiar Ring)   Martin O'Donnell and Michael Salvatori
Cortana (No More Dead Heroes/Watching)                      Martin O'Donnell and Michael Salvatori
Cortana (Keep What You Steal/Escape*)                       Martin O'Donnell and Michael Salvatori (*C Paul Johnson as additional compose, producer and pe
Halo (Halo Reborn/Guilt and Punishment)                     Martin O'Donnell and Michael Salvatori
Halo (Greatest Journey/Flood Rising*/ Halo Finale)          Martin O'Donnell and Michael Salvatori (*C Paul Johnson as additional compose, producer and pe
Ending (Tribute)                                            Martin O'Donnell and Michael Salvatori
Ending (Roll Call/Duty Bound/Price Paid)                    Martin O'Donnell and Michael Salvatori
Ending (Wake Me When You Need Me)                           Martin O'Donnell and Michael Salvatori
Ending (Legend)                                             Martin O'Donnell and Michael Salvatori
Bonus Tracks (Choose Wisely)                                Martin O'Donnell and Michael Salvatori
Bonus Tracks (Movement)                                     Martin O'Donnell and Michael Salvatori
Bonus Tracks (Never Forget)                                 Martin O'Donnell and Michael Salvatori
Bonus Tracks (Finish The Fight)                             Martin O'Donnell and Michael Salvatori
LvUrFR3NZ (Artist: Princeton)                               Princeton
Perspective                                                 Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Money or Meteors                                            Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Flollo                                                      Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Just Ad Nauseam                                             Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Unusually Quiet                                             Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Flip and Sizzle                                             Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Put the Lady Down                                           Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Six-Armed Robbing Suit                                      Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Action Figure Hands                                         Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Status Quo Show                                             Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Part of the Plan                                            Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Work Burns and Runaway Grunts                               Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Freaked Out                                                 Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
                             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 23 of 104


Writer(s)                                   Societ   IPI # from web   Societ ISWC: ICE    Publisher   Pub         Society IPI# from Malia
                                                     for writers                                      Confirmed
                                            y                         y            code   (s)
                                                                      Confir
                                                                      med
                                                                      by MJ
Martin O'Donnell and Michael Salvatori       ASCAP                 ASCAP/100%              MS        Microsoft Music
                                                                                                               ASCAPPublishing
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori       ASCAP O'Donnell (126846560)
                                                                   ASCAP/100%
                                                                          T0733298399
                                                                            Salvatori1E+07
                                                                                      (130210548)
                                                                                           MS        Microsoft Music
                                                                                                               ASCAPPublishing    349532445
Martin O'Donnell and Michael Salvatori (*C Paul Johnson as additional compose, producer andMS
                                                                                            performer)
Martin O'Donnell and Michael Salvatori       ASCAP O'Donnell (126846560)
                                                                   ASCAP/100%
                                                                          T0733256375
                                                                            Salvatori5E+06
                                                                                      (130210548)
                                                                                           MS        Microsoft Music
                                                                                                               ASCAPPublishing    349532445
Martin O'Donnell and Michael Salvatori (*C Paul Johnson as additional compose, producer andMS
                                                                                            performer)
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori       ASCAP O'Donnell (126846560)  T0733293021
                                                                            Salvatori (130210548)
                                                                                           MS        Microsoft Music
                                                                                                               ASCAPPublishing    349532445
Martin O'Donnell and Michael Salvatori                                                     MS
Martin O'Donnell and Michael Salvatori       ASCAP O'Donnell (126846560)
                                                                   ASCAP/100%
                                                                          T0733242153
                                                                            Salvatori1E+07
                                                                                      (130210548)
                                                                                           MS        Microsoft Music
                                                                                                               ASCAPPublishing    349532445
Martin O'Donnell and Michael Salvatori       Not registered                                MS
Stephen Rippy                                ASCAP                 ASCAP 100%
                                                                          T9183754441 MS             Microsoft Music Publishing
Stephen Rippy                                                                              MS
Stephen Rippy                                                                              MS
Stephen Rippy                                                                              MS
Stephen Rippy                                                                              MS
Stephen Rippy                                                                              MS
Stephen Rippy                                                                              MS
Stephen Rippy                                                                              MS
Stephen Rippy                                                                              MS
Stephen Rippy                                                                              MS
Stephen Rippy                                                                              MS
Stephen Rippy                                                                              MS
Stephen Rippy                                                                              MS
                            Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 24 of 104


Notes            Malia Questions




Buma/stemra : Warner Chappel Music Holland BV = Performing (00005876576) ; - Martin & Michael owned Mechanical Rights (no society listed); SABAM list WB Mus

According to Buma/stemra : Warner Chappel Music Holland BV = Performing (00005876576) ; - Martin & Michael owned Mechanical Rights (no society listed); SOCAN




According to Buma/Stemra : Marty, Michael, Microsoft, and Warner Chappell Music Holland Bv own Performing Rights, and Marty and Michael own mechanicals

According to Buma/stemra : Warner Chappel Music Holland BV = Performing (00005876576) ; - Martin & Michael owned Mechanical Rights (no society listed); SOCAN
Not on physical cd's.
                  Kevin McMullan was an FTE at some point
                                       Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 25 of 104




isted); SABAM list WB Music Corp and SESAC (mechanicals, and Warner-Chappel - Belgium - SABAM (Performance & Mechanicals);

 (no society listed); SOCAN - Warner Chappell Music Canada; SABAM list WB Music Corp and SESAC (mechanicals, and Warner-Chappel - Belgium - SABAM (Performance & Mech




hael own mechanicals

 (no society listed); SOCAN lists Warner Chappel Music SOCAN (219747543); SABAM list WB Music Corp and SESAC (mechanicals, and Warner-Chappel - Belgium - SABAM (Perfo
                                       Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 26 of 104




BAM (Performance & Mechanicals);




el - Belgium - SABAM (Performance & Mechanicals)
                              Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 27 of 104


Order       Project       Project                   Workin Album Title                         Disc #       Track #
            release                                 g Track
                                                    (Song)
                                                    Title

        4     2/17/2009   Halo Wars                        Halo Wars                                    1         16
        4     2/17/2009   Halo Wars                        Halo Wars                                    1         17
        4     2/17/2009   Halo Wars                        Halo Wars                                    1         18
        4     2/17/2009   Halo Wars                        Halo Wars                                    1         19
        4     2/17/2009   Halo Wars                        Halo Wars                                    1         20
        4     2/17/2009   Halo Wars                        Halo Wars                                    1         21
        4     2/17/2009   Halo Wars                        Halo Wars                                    1         22
        4     2/17/2009   Halo Wars                        Halo Wars                                    1         24
        4     2/17/2009   Halo Wars                        Halo Wars                                    1         25
        4     2/17/2009   Halo Wars                        Halo Wars                                    1          1
        4     2/17/2009   Halo Wars                        Halo Wars                                    1          2
        4     2/17/2009   Halo Wars                        Halo Wars                                    1         23
        4     2/17/2009   Halo Wars                        Halo Wars - Bonus Disk                       2          7
        4     2/17/2009   Halo Wars                        Halo Wars - Bonus Disk                       2          8
        4     2/17/2009   Halo Wars                        Halo Wars - Bonus Disk                       2          9
        4     2/17/2009   Halo Wars                        Halo Wars - Bonus Disk                       2          1
        4     2/17/2009   Halo Wars                        Halo Wars - Bonus Disk                       2          2
        4     2/17/2009   Halo Wars                        Halo Wars - Bonus Disk                       2          3
        4     2/17/2009   Halo Wars                        Halo Wars - Bonus Disk                       2          4
        4     2/17/2009   Halo Wars                        Halo Wars - Bonus Disk                       2          5
        4     2/17/2009   Halo Wars                        Halo Wars - Bonus Disk                       2          6
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1          6
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1          8
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         12
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         30
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         31
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         33
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         35
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1          1
                               Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 28 of 104


Song Title                                               Performing Artist(s)




Rescued or Not                                           Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Best Guess at Best                                       Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
One Problem at a Time                                    Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
De Facto the Matter                                      Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Part of the Problem                                      Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Fingerprints Are Broken                                  Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Out of There Alive                                       Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Under Your Hurdles                                       Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Insignificantia (All Sloppy/No Joe)                      Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Spirit of Fire                                           Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McCullam & Northwest Si
Bad Here Day                                             Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Through Your Hoops                                       Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Quite the Vacation Resort                                Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Bad Day Here (Shield Interior Intro Version)             Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
We're Burning Sunshine                                   Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
X-06                                                     Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Fingerprints Are Broken (Harvest Intro Version)          Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Five Long Years                                          Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Money or Meteors (Arcadia Intro Version)                 Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Nothing Ventured, Nothing Gained                         Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
Best Guess at Best (Shield Exterior Intro Version)       Filmharmonic Orchestra and Choir, Stephen Rippy, Stan Lepard & Kevin McMullan
The Rookie: Strong Silent Type                           Martin O'Donnell & Michael Salvatori
The Rookie: Proceed with Caution                         Martin O'Donnell & Michael Salvatori
Deference For Darkness: Rain**                           Martin O'Donnell and Michael Salvatori (**Stan Lepard as additional composers and producer)
The Office of Naval Intelligence: A Heavy Toll           Martin O'Donnell & Michael Salvatori
The Office of Naval Intelligence: Strong Medicine        Martin O'Donnell & Michael Salvatori
The Office of Naval Intelligence: Access Denied          Martin O'Donnell & Michael Salvatori
The Office of Naval Intelligence: Clear Air              Martin O'Donnell & Michael Salvatori
Overture: Yet Alone                                      Martin O'Donnell & Michael Salvatori
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Writer(s)                                  Societ   IPI # from web   Societ ISWC: ICE    Publisher   Pub         Society IPI# from Malia
                                                    for writers                                      Confirmed
                                           y                         y            code   (s)
                                                                     Confir
                                                                     med
                                                                     by MJ
Stephen Rippy                                                                            MS
Stephen Rippy                                                                            MS
Stephen Rippy                                                                            MS
Stephen Rippy                                                                            MS
Stephen Rippy                                                                            MS
Stephen Rippy                                                                            MS
Stephen Rippy                                                                            MS
Kevin McMullan                              ASCAP Kevin McCullan  ASCAP
                                                                     NS 83%
                                                                          Not assigned   MS          Microsoft Music Publishing
Stephen Rippy                               ASCAP                 ASCAP/100%
                                                                          T9183758692 MS             Microsoft Music Publishing
Stephen Rippy                               ASCAP                 ASCAP 100%
                                                                          T9194383056 MS             Microsoft Music Publishing
Stephen Rippy                               ASCAP                 ASCAP 100%
                                                                          T9183754430 MS             Microsoft Music Publishing
Stephen Rippy                                                                            MS
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Stephen Rippy                               unknown               unknown
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Stephen Rippy
Martin O'Donnell & Michael Salvatori        ASCAP                 ASCAP 100%
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Martin O'Donnell & Michael Salvatori        ASCAP                 ASCAP 100%
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Martin O'Donnell and Michael Salvatori (**Stan
                                            ASCAP
                                               Lepard as additionalASCAP
                                                                    composers
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                                                                          T9030000409
                                                                              and producer)
                                                                                         MS          Microsoft Music
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Martin O'Donnell & Michael Salvatori        ASCAP                 ASCAP/100%
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Martin O'Donnell & Michael Salvatori        ASCAP                 ASCAP/100%
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Martin O'Donnell & Michael Salvatori        ASCAP                 ASCAP/100%
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Martin O'Donnell & Michael Salvatori        ASCAP                 ASCAP/100%
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Martin O'Donnell and Michael Salvatori                                                   MS
                               Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 30 of 104


Notes              Malia Questions




Because Kevin McCullan is not listed with a society - ASCAP only has 83%

Rippy, O'Donnell, and Salvatori are all listed as writers on ASCAP site
Rippy, O'Donnell, and Salvatori are all listed as writers on ASCAP site




*Additional composers/performers not listed in ASCAP
*Additional composers/performers not listed in ASCAP
*Additional composers/performers not listed in ASCAP
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*Additional composers/performers are not listed in ASCAP
*Additional composers/performers are not listed in ASCAP
                              Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 31 of 104


Order       Project       Project                   Workin Album Title                         Disc #       Track #
            release                                 g Track
                                                    (Song)
                                                    Title

        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1          2
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1          3
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1          4
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1          5
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1          7
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1          9
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         10
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         11
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         13
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         14
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         15
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         16
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         17
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         18
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         19
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         20
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         21
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         22
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         23
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         24
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         25
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         26
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         27
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         28
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         29
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         32
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 1         34
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         36
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         37
                              Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 32 of 104


Song Title                                              Performing Artist(s)




Overture: These Darkened Streets                        Martin O'Donnell & Michael Salvatori
Overture: Time to Dance                                 Martin O'Donnell & Michael Salvatori
Overture: Key to the City                               Martin O'Donnell & Michael Salvatori
Overture: Replacements                                  Martin O'Donnell & Michael Salvatori
The Rookie: Postpartum*                                 Martin O'Donnell & Michael Salvatori (*C Paul Johnson additional performer)
More Than His Share: Into the Breach                    Martin O'Donnell & Michael Salvatori
More Than His Share: Becomes the Hunted                 Martin O'Donnell & Michael Salvatori
More Than His Share: Lost and Unfound                   Martin O'Donnell & Michael Salvatori
Deference For Darkness: Trailhead                       Martin O'Donnell and Michael Salvatori
Deference For Darkness: Guiding Hand*                   Martin O'Donnell and Michael Salvatori (*C Paul Johnson as additional composer and producer)
The Menagerie: Ground War                               Martin O'Donnell and Michael Salvatori
The Menagerie: Oscar Mike                               Martin O'Donnell and Michael Salvatori
The Menagerie: Unleashed**                              Martin O'Donnell & Michael Salvatori (**Stan Lepard additional performer)
The Menagerie: On the Prowl**                           Martin O'Donnell & Michael Salvatori (**Stan Lepard additional performer)
Asphalt and Ablution: Still Grounded                    Martin O'Donnell & Michael Salvatori
Asphalt and Ablution: Island of War                     Martin O'Donnell & Michael Salvatori
Asphalt and Ablution: Hardboiled                        Martin O'Donnell & Michael Salvatori
Asphalt and Ablution: Sneaking Suspicion                Martin O'Donnell & Michael Salvatori
Traffic Jam: Look Both Ways                             Martin O'Donnell & Michael Salvatori
Traffic Jam: Street Sweeper                             Martin O'Donnell & Michael Salvatori
Traffic Jam: Rally Point                                Martin O'Donnell & Michael Salvatori
Neon Night: Where One Road Ends                         Martin O'Donnell & Michael Salvatori
Neon Night: Block by Block                              Martin O'Donnell & Michael Salvatori
Neon Night: Perception is Reality                       Martin O'Donnell & Michael Salvatori
Neon Night: Pounding the Pavement                       Martin O'Donnell & Michael Salvatori
The Office of Naval Intelligence: Uphill, Both Ways*    Martin O'Donnell & Michael Salvatori (*C Paul Johnson additional performer)
The Office of Naval Intelligence: Infestation           Martin O'Donnell & Michael Salvatori (*C Paul Johnson additional performer)
Bits and Pieces :From the Ashes                         Martin O'Donnell and Michael Salvatori
Bits and Pieces: Dead or Gone                           Martin O'Donnell and Michael Salvatori
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Writer(s)                                  Societ   IPI # from web   Societ ISWC: ICE    Publisher   Pub         Society IPI# from Malia
                                                    for writers                                      Confirmed
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                                                                     Confir
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Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori (*C Paul
                                             ASCAP
                                                Johnson as additional
                                                                   ASCAP
                                                                      composer
                                                                         100%
                                                                          T9030093608
                                                                               and producer)
                                                                                          MS         Microsoft Music
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Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori       ASCAP                 ASCAP 100%
                                                                          T9030000409 MS             Microsoft Music
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Martin O'Donnell and Michael Salvatori (*C Paul
                                             ASCAP
                                                Johnson as additional
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                                                                      composer
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                                                                          T9030000409
                                                                               and producer)
                                                                                          MS         Microsoft Music
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Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori (**Stan Lepard additional composer and producer) MS
Martin O'Donnell and Michael Salvatori (**Stan Lepard additional composer and producer) MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori       ASCAP                 ASCAP/100%
                                                                          T9030090983 MS             Microsoft Music
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Martin O'Donnell and Michael Salvatori       ASCAP                 ASCAP/100%
                                                                          T9030090983 MS             Microsoft Music
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Martin O'Donnell and Michael Salvatori       ASCAP                 ASCAP/100%
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Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori (*C Paul
                                             ASCAP
                                                Johnson as additional
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                                                                      composer
                                                                          T9030029619
                                                                               and producer)
                                                                                          MS         Microsoft Music
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Martin O'Donnell and Michael Salvatori (*C Paul
                                             ASCAP
                                                Johnson as additional
                                                                   ASCAP/100%
                                                                      composer
                                                                          T9030029619
                                                                               and producer)
                                                                                          MS         Microsoft Music
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Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
                             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 34 of 104


Notes            Malia Questions




*Additional composers/performers not listed in ASCAP




*Additional composers/performers not listed in ASCAP
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*Additional composers/performers are not listed in ASCAP
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                              Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 35 of 104


Order       Project       Project                   Workin Album Title                         Disc #       Track #
            release                                 g Track
                                                    (Song)
                                                    Title

        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         38
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         39
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         40
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         41
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         42
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         43
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         44
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         45
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         46
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         47
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         48
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         49
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         50
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         51
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         52
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         53
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         54
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         55
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         56
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         57
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         58
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         59
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         60
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         61
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         62
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         63
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         64
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         65
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         66
                             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 36 of 104


Song Title                                             Performing Artist(s)




Bits and Pieces: Premonition                           Martin O'Donnell and Michael Salvatori
Bits and Pieces: Something Like Sorrow                 Martin O'Donnell and Michael Salvatori
Skyline: No Response                                   Martin O'Donnell and Michael Salvatori
Skyline: Pick a Target, Any Target                     Martin O'Donnell and Michael Salvatori
Skyline: Love at Long Range                            Martin O'Donnell and Michael Salvatori
Skyline: Air Traffic Control**                         Martin O'Donnell & Michael Salvatori (**Stan Lepard additional performer)
No Stone Unturned: Cast Aside                          Martin O'Donnell and Michael Salvatori
No Stone Unturned: Nox Aeterna                         Martin O'Donnell and Michael Salvatori
No Stone Unturned: Marching On*                        Martin O'Donnell & Michael Salvatori (*C Paul Johnson additional performer)
One Way Ride: Borrowed Time                            Martin O'Donnell and Michael Salvatori
One Way Ride: Anywhere but Here                        Martin O'Donnell and Michael Salvatori
One Way Ride: The Calm Before                          Martin O'Donnell and Michael Salvatori
One Way Ride: Let it Burn                              Martin O'Donnell and Michael Salvatori
The Light At The End: Another Rain                     Martin O'Donnell and Michael Salvatori
The Light At The End: Through the Divide               Martin O'Donnell and Michael Salvatori
The Light At The End: All that Remains                 Martin O'Donnell and Michael Salvatori
The Light At The End: Heart and Mind*                  Martin O'Donnell & Michael Salvatori (*C Paul Johnson additional performer)
Data Hive: We All Got Secrets                          Martin O'Donnell and Michael Salvatori
Data Hive: Only One Way In                             Martin O'Donnell and Michael Salvatori
Data Hive: Core*                                       Martin O'Donnell & Michael Salvatori (*C Paul Johnson additional performer)
Data Hive: This Way Up*                                Martin O'Donnell & Michael Salvatori (*C Paul Johnson additional performer)
Special Delivery: From Bones                           Martin O'Donnell and Michael Salvatori
Special Delivery: Still Strong                         Martin O'Donnell and Michael Salvatori
Special Delivery: Extra Firepower*                     Martin O'Donnell & Michael Salvatori (*C Paul Johnson additional performer)
Special Delivery: Mercy Plea                           Martin O'Donnell and Michael Salvatori
Special Delivery: Hell of a Night                      Martin O'Donnell and Michael Salvatori
Finale: From the Ashes (reprise)                       Martin O'Donnell & Michael Salvatori
Finale: Orbital Drop Shock Trooper                     Martin O'Donnell & Michael Salvatori
Finale: Old Friend                                     Martin O'Donnell & Michael Salvatori
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Writer(s)                                  Societ   IPI # from web   Societ ISWC: ICE    Publisher   Pub         Society IPI# from Malia
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Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori (**Stan Lepard additional composer and producer) MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori (*C Paul Johnson as additional composer and producer)
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Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
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Martin O'Donnell and Michael Salvatori                                                    MS
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Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori (*C Paul Johnson as additional composer and producer)
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Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori (*C Paul Johnson as additional composer and producer)
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Martin O'Donnell and Michael Salvatori (*C Paul Johnson as additional composer and producer)
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Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori (*C Paul Johnson as additional composer and producer)
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Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
Martin O'Donnell and Michael Salvatori                                                    MS
                  Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 38 of 104


Notes   Malia Questions
                              Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 39 of 104


Order       Project       Project                   Workin Album Title                         Disc #       Track #
            release                                 g Track
                                                    (Song)
                                                    Title

        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         67
        5     9/22/2009   Halo 3: ODST                     Halo 3: ODST                                 2         68
        6      2/9/2010   Halo Legends                     Halo Legends                                 1         12
        6      2/9/2010   Halo Legends                     Halo Legends                                 1         13
        6      2/9/2010   Halo Legends                     Halo Legends                                 1         15
        6      2/9/2010   Halo Legends                     Halo Legends                                 1         18
        6      2/9/2010   Halo Legends                     Halo Legends                                 1         19
        6      2/9/2010   Halo Legends                     Halo Legends                                 1         21
        6      2/9/2010   Halo Legends                     Halo Legends                                 1         26
        6      2/9/2010   Halo Legends                     Halo Legends                                 1         28
        6      2/9/2010   Halo Legends                     Halo Legends                                 1         29
        6      2/9/2010   Halo Legends                     Halo Legends                                 1          1
        6      2/9/2010   Halo Legends                     Halo Legends                                 1          2
        6      2/9/2010   Halo Legends                     Halo Legends                                 1          3
        6      2/9/2010   Halo Legends                     Halo Legends                                 1          4
        6      2/9/2010   Halo Legends                     Halo Legends                                 1          5
        6      2/9/2010   Halo Legends                     Halo Legends                                 1          6
        6      2/9/2010   Halo Legends                     Halo Legends                                 1          7
        6      2/9/2010   Halo Legends                     Halo Legends                                 1          8
        6      2/9/2010   Halo Legends                     Halo Legends                                 1          9
        6      2/9/2010   Halo Legends                     Halo Legends                                 1         10
        6      2/9/2010   Halo Legends                     Halo Legends                                 1         11
        6      2/9/2010   Halo Legends                     Halo Legends                                 1         14
        6      2/9/2010   Halo Legends                     Halo Legends                                 1         16
        6      2/9/2010   Halo Legends                     Halo Legends                                 1         17
        6      2/9/2010   Halo Legends                     Halo Legends                                 1         20
        6      2/9/2010   Halo Legends                     Halo Legends                                 1         22
        6      2/9/2010   Halo Legends                     Halo Legends                                 1         23
        6      2/9/2010   Halo Legends                     Halo Legends                                 1         24
                           Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 40 of 104


Song Title                                           Performing Artist(s)




Finale: Reborn Relic                                 Martin O'Donnell & Michael Salvatori
Finale: Prepares to Drop                             Martin O'Donnell & Michael Salvatori
Blade and Burden                                     None listed
Steel and Light                                      None listed
True Arbiter                                         None listed
Shattered Legacy                                     None listed
Out of Darkness                                      None listed
Into Light                                           None listed
Here in Peril                                        None listed
Risk and Reward                                      None listed
Exit Window                                          None listed
Ghosts of Reach                                      None listed
Brothers in Arms                                     None listed
Truth and Reconciliation                             None listed
Opening Suite 1                                      None listed
Opening Suite 2                                      None listed
Halo                                                 None listed
Desperate Measure                                    None listed
Cairo Suite 1                                        None listed
Delta Halo Suite                                     None listed
Machines and Might                                   None listed
Remembrance                                          None listed
Impend                                               None listed
The Maw                                              None listed
Unforgotten                                          None listed
High Charity Suite 2                                 None listed
Sacred Icon Suite 2                                  None listed
Rescue Mission                                       None listed
The Last Spartan                                     None listed
                             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 41 of 104


Writer(s)                                    Societ   IPI # from web   Societ ISWC: ICE     Publisher   Pub         Society IPI# from Malia
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                                                                       by MJ
Martin O'Donnell and Michael Salvatori                                                       MS
Martin O'Donnell and Michael Salvatori                                                       MS
Yasuharu Takanashi                                                                           MS
Yasuharu Takanashi                                                                           MS
Yasuharu Takanashi                                                                           MS
Yasuharu Takahashi                                                                           MS
Naoyuki Hiroko                                                                               MS
Tetsuya Takahashi (or Yasuharu Takanashi)                                                    MS
Tetsuya Takahashi (or Yasuharu Takanashi)                                                    MS
Tetsuya Takahashi (or Yasuharu Takanashi)                                                    MS
Tetsuya Takahashi (or Yasuharu Takanashi)                                                    MS
music arrangements and additional composition: Tilman Sillescu, Alexander Roeder, Alex Pfeffer,
                                                                                             MS Markus Schmidt, Robin Hoffmann, Marco Jovic, David Christiansen (
music arrangements and additional composition: Tilman Sillescu, Alexander Roeder, Alex Pfeffer,
                                                                                             MS Markus Schmidt, Robin Hoffmann, Marco Jovic, David Christiansen (
music arrangements and additional composition: Tilman Sillescu, Alexander Roeder, Alex Pfeffer,
                                                                                             MS Markus Schmidt, Robin Hoffmann, Marco Jovic, David Christiansen (
music arrangements and additional composition:
                                           ASCAP
                                               Tilman
                                                    O'Donnell
                                                      Sillescu, (126846560)
                                                                Alexander
                                                                   ASCAP 100%
                                                                          Roeder,
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                                                                                             MS Markus Schmidt,
                                                                                                       MicrosoftRobin
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                                                                                                                       PublishingMarco
                                                                                                                                  349532445
                                                                                                                                       Jovic, David Christiansen (
music arrangements and additional composition:
                                           ASCAP
                                               Tilman
                                                    O'Donnell
                                                      Sillescu, (126846560)
                                                                Alexander
                                                                   ASCAP 100%
                                                                          Roeder,
                                                                          T9134531218
                                                                            Salvatori
                                                                                  Alex(130210548)
                                                                                        Pfeffer,
                                                                                             MS Markus Schmidt,
                                                                                                       MicrosoftRobin
                                                                                                                 Music
                                                                                                                 ASCAPHoffmann,
                                                                                                                       PublishingMarco
                                                                                                                                  349532445
                                                                                                                                       Jovic, David Christiansen (
music arrangements and additional composition: Tilman Sillescu, Alexander Roeder, Alex Pfeffer,
                                                                                             MS Markus Schmidt, Robin Hoffmann, Marco Jovic, David Christiansen (
music arrangements and additional composition: Tilman Sillescu, Alexander Roeder, Alex Pfeffer,
                                                                                             MS Markus Schmidt, Robin Hoffmann, Marco Jovic, David Christiansen (
music arrangements and additional composition: Tilman Sillescu, Alexander Roeder, Alex Pfeffer,
                                                                                             MS Markus Schmidt, Robin Hoffmann, Marco Jovic, David Christiansen (
music arrangements and additional composition: Tilman Sillescu, Alexander Roeder, Alex Pfeffer,
                                                                                             MS Markus Schmidt, Robin Hoffmann, Marco Jovic, David Christiansen (
music arrangements and additional composition: Tilman Sillescu, Alexander Roeder, Alex Pfeffer,
                                                                                             MS Markus Schmidt, Robin Hoffmann, Marco Jovic, David Christiansen (
music arrangements and additional composition: Tilman Sillescu, Alexander Roeder, Alex Pfeffer,
                                                                                             MS Markus Schmidt, Robin Hoffmann, Marco Jovic, David Christiansen (
music arrangements and additional composition: Tilman Sillescu, Alexander Roeder, Alex Pfeffer,
                                                                                             MS Markus Schmidt, Robin Hoffmann, Marco Jovic, David Christiansen (
music arrangements and additional composition: Tilman Sillescu, Alexander Roeder, Alex Pfeffer,
                                                                                             MS Markus Schmidt, Robin Hoffmann, Marco Jovic, David Christiansen (
music arrangements and additional composition: Tilman Sillescu, Alexander Roeder, Alex Pfeffer,
                                                                                             MS Markus Schmidt, Robin Hoffmann, Marco Jovic, David Christiansen (
music arrangements and additional composition: Tilman Sillescu, Alexander Roeder, Alex Pfeffer,
                                                                                             MS Markus Schmidt, Robin Hoffmann, Marco Jovic, David Christiansen (
music arrangements and additional composition:
                                           ASCAP
                                               Tilman
                                                    126846560,
                                                      Sillescu, Alexander
                                                                  130210548
                                                                          Roeder,
                                                                          T9134686605
                                                                                  Alex Pfeffer,
                                                                                             MS Markus Schmidt,
                                                                                                       MicrosoftRobin
                                                                                                                 MusicHoffmann,
                                                                                                                       PublishingMarco Jovic, David Christiansen (
music arrangements and additional composition: Tilman Sillescu, Alexander Roeder, Alex Pfeffer,
                                                                                             MS Markus Schmidt, Robin Hoffmann, Marco Jovic, David Christiansen (
music arrangements and additional composition: Tilman Sillescu, Alexander Roeder, Alex Pfeffer,
                                                                                             MS Markus Schmidt, Robin Hoffmann, Marco Jovic, David Christiansen (
                  Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 42 of 104


Notes   Malia Questions




                                      Listed on CP 3382306




                                      Listed on CP 3382306
                              Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 43 of 104


Order       Project       Project                            Workin Album Title                        Disc #       Track #
            release                                          g Track
                                                             (Song)
                                                             Title

        6      2/9/2010   Halo Legends                              Halo Legends                                1         25
        6      2/9/2010   Halo Legends                              Halo Legends                                1         27
        6      2/9/2010   Halo Legends                              Halo Legends                                1         30
        7     9/14/2010   Halo: Reach                               Halo: Reach                                 1          1
        7     9/14/2010   Halo: Reach                               Halo: Reach                                 1          2
        7     9/14/2010   Halo: Reach                               Halo: Reach                                 1          3
        7     9/14/2010   Halo: Reach                               Halo: Reach                                 1          4
        7     9/14/2010   Halo: Reach                               Halo: Reach                                 1          5
        7     9/14/2010   Halo: Reach                               Halo: Reach                                 1          6
        7     9/14/2010   Halo: Reach                               Halo: Reach                                 1          7
        7     9/14/2010   Halo: Reach                               Halo: Reach                                 2          1
        7     9/14/2010   Halo: Reach                               Halo: Reach                                 2          2
        7     9/14/2010   Halo: Reach                               Halo: Reach                                 2          3
        7     9/14/2010   Halo: Reach                               Halo: Reach                                 2          4
        7     9/14/2010   Halo: Reach                               Halo: Reach                                 2          5
        7     9/14/2010   Halo: Reach                               Halo: Reach                                 2          6
        7     9/14/2010   Halo: Reach                               Halo: Reach                                 2          7
        7     9/14/2010   Halo: Reach                               Halo: Reach                                 2          8
        7     9/14/2010   Halo: Reach                               Halo: Reach                                 2          9
        7     9/14/2010   Halo: Reach                               Halo: Reach                                 2         10
        7     9/14/2010   Halo: Reach                               Halo: Reach                                 2         11
        7     9/14/2010   Halo: Reach                               Halo: Reach                                 2         12
        7     9/14/2010   Halo: Reach                               Halo: Reach                                 2         13
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            1          1
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            1          2
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            1          3
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            1          4
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            1          5
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            1          6
                              Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 44 of 104


Song Title                                                          Performing Artist(s)




High Charity Quartet                                               None listed
Earth City                                                         None listed
Finale 2                                                           None listed
Overture (From the Beginning/ Swift, Strong, Brave/ Immemorial/ Remember      Reach/and
                                                                   Martin O'Donnell    TheMichael
                                                                                           Fall)    Salvatori
Winter Contingency (The Battle Begins/ Lone Wolf/ Distress/ BloodMartin
                                                                    on the O'Donnell
                                                                           Ground**/and Noble Mission*/
                                                                                          Michael         Bait(*C
                                                                                                    Salvatori  andPaul
                                                                                                                   Switch**/
                                                                                                                       JohnsonFree
                                                                                                                                 andFire Zone**/
                                                                                                                                     **Stan       Discontent)
                                                                                                                                             LePard)
ONI: Sword Base (Sword Control/ Incommunicado*/ Inbound Imminent*/ Martin Aim  to Please**/
                                                                           O'Donnell         Latchkey*)
                                                                                      and Michael   Salvatori (*C Paul Johnson and **Stan LePard)
Nightfall (Recon/ Searchlights/ Personnel Issues*/ Keeping What I Steal**/ Howling Dark*/
                                                                   Martin O'Donnell         At Dawn)
                                                                                      and Michael   Salvatori (*C Paul Johnson and **Stan LePard)
Tip of the Spear (Unreconciled/ Any Means Necessary*/ Eyes on theMartin
                                                                     Prize**/ Breaking
                                                                           O'Donnell    Point***)
                                                                                      and Michael Salvatori (*C Paul Johnson, **Stan LePard, and ***C Paul Johnson a
Long Night of Solace (Kat's Plan/ Displacement*/ Broken Bonds/ Uppercut/    My Heartand
                                                                   Martin O'Donnell    Breaks/  The Salvatori
                                                                                          Michael   Ardent Prayer/   Belly
                                                                                                              (*C Paul     of theand
                                                                                                                       Johnson    Beast/ Discourage
                                                                                                                                     **Stan  LePard) the Curious**/ Make
Exodus (Before the Fire/ The Sky's No Limit/ The Other Side**/ CityMartin
                                                                   Under Siege*/   Few
                                                                           O'Donnell  andMore  Days**/
                                                                                          Michael       Apology*)
                                                                                                    Salvatori (*C Paul Johnson and **Stan LePard)
New Alexandria (Wing and a Prayer/ Fall from Grace/ Triage**/ War    Machine/
                                                                   Martin      Whirling
                                                                           O'Donnell  andDervish**/   Crown Jewel/
                                                                                          Michael Salvatori          Reflection)
                                                                                                              ( **Stan LePard)
The Package (Return/ Simple Things/ Torch and Burn**/ Decent/ Time     to Dance/
                                                                   Martin         Say and
                                                                           O'Donnell  the Words)
                                                                                          Michael Salvatori ( **Stan LePard)
The Pillar of Autumn (Once More Unto the Breach/ Through the Rock/     Shipbreaker/Meltdown/Move
                                                                   Martin                               Mountains**/
                                                                           O'Donnell and Michael Salvatori              Noble Six**/
                                                                                                              (**Stan LePard,         Special
                                                                                                                                and ***C  PaulDelivery/ On the
                                                                                                                                               Johnson and  StanGun***)
                                                                                                                                                                 LePard)
Epilogue (Spartans Never Die/ Omega/ Hymn for Reach)               Martin O'Donnell and Michael Salvatori
From the Vault                                                     Martin O'Donnell and Michael Salvatori
Ashes                                                              Martin O'Donnell and Michael Salvatori
Fortress**                                                         Martin O'Donnell, Michael Salvatori and Stan LePard
We’re Not Going Anywhere*                                          Martin O'Donnell, Michael Salvatori and C Paul Johnson
At Any Cost                                                        Martin O'Donnell and Michael Salvatori
Both Ways (Remix)****                                              Martin O'Donnell, Michael Salvatori, C Paul Johnson, and Ivan Ives
Walking Away                                                       Martin O'Donnell and Michael Salvatori
Ghosts and Glass                                                   Martin O'Donnell and Michael Salvatori
We Remember                                                        Martin O'Donnell and Michael Salvatori
Random Slipspace Trajectory                                        Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Bravery, Brotherhood                                               Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Installation 04                                                    Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
An End of Dying                                                    Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Pale Rider                                                         Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Yawning Chasm                                                      Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
                             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 45 of 104


Writer(s)                                    Societ   IPI # from web   Societ ISWC: ICE    Publisher   Pub         Society IPI# from Malia
                                                      for writers                                      Confirmed
                                             y                         y            code   (s)
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                                                                       by MJ
music arrangements and additional composition: Tilman Sillescu, Alexander Roeder, Alex Pfeffer,
                                                                                             MS Markus Schmidt, Robin Hoffmann, Marco Jovic, David Christiansen (
music arrangements and additional composition: Tilman Sillescu, Alexander Roeder, Alex Pfeffer,
                                                                                             MS Markus Schmidt, Robin Hoffmann, Marco Jovic, David Christiansen (
music arrangements and additional composition: Tilman Sillescu, Alexander Roeder, Alex Pfeffer,
                                                                                             MS Markus Schmidt, Robin Hoffmann, Marco Jovic, David Christiansen (
Martin O'Donnell and Michael Salvatori                                                       MS
Martin O'Donnell and Michael Salvatori (*C Paul Johnson and **Stan LePard)                   MS
Martin O'Donnell and Michael Salvatori (*C Paul Johnson and **Stan LePard)                   MS
Martin O'Donnell and Michael Salvatori (*C Paul Johnson and **Stan LePard)                   MS
Martin O'Donnell and Michael Salvatori (*C Paul Johnson, **Stan LePard, and ***C Paul JohnsonMSand Stan LePard)
Martin O'Donnell and Michael Salvatori (*C Paul
                                              ASCAP
                                                Johnson
                                                      O'Donnell
                                                         and **Stan
                                                                 (126846560)
                                                                    ASCAP/100%
                                                                     LePard)T9052226503
                                                                              Salvatori2E+07
                                                                                        (130210548)
                                                                                             MS        Microsoft Music
                                                                                                                 ASCAPPublishing 349532445
Martin O'Donnell and Michael Salvatori (*C Paul
                                              ASCAP
                                                Johnson
                                                      O'Donnell
                                                         and **Stan
                                                                 (126846560)
                                                                    ASCAP/100%
                                                                     LePard)T9052212518
                                                                              Salvatori (130210548)
                                                                                             MS        Microsoft Music
                                                                                                                 ASCAPPublishing 349532445
Martin O'Donnell and Michael Salvatori ( **Stan LePard)                                      MS
Martin O'Donnell and Michael Salvatori ( **Stan LePard)                                      MS
Martin O'Donnell and Michael Salvatori (**Stan LePard, and ***C Paul Johnson and Stan LePard)MS
Martin O'Donnell and Michael Salvatori        ASCAP O'Donnell (126846560)
                                                                    ASCAP/100%
                                                                            T0730464886
                                                                              Salvatori1E+07
                                                                                        (130210548)
                                                                                             MS        Microsoft Music
                                                                                                                 ASCAPPublishing 349532445
Martin O'Donnell and Michael Salvatori                                                       MS
Martin O'Donnell and Michael Salvatori                                                       MS
Martin O'Donnell, Michael Salvatori and Stan LePard                                          MS
Martin O'Donnell, Michael Salvatori and C Paul Johnson                                       MS
Martin O'Donnell and Michael Salvatori                                                       MS
Martin O'Donnell, Michael Salvatori, C Paul Johnson, and Ivan Ives                           MS
Martin O'Donnell and Michael Salvatori                                                       MS
Martin O'Donnell and Michael Salvatori                                                       MS
Martin O'Donnell and Michael Salvatori                                                       MS
Martin O'Donnell and Michael Salvatori                                                       MS
Martin O'Donnell and Michael Salvatori                                                       MS
Martin O'Donnell and Michael Salvatori                                                       MS
Martin O'Donnell and Michael Salvatori                                                       MS
Martin O'Donnell and Michael Salvatori                                                       MS
Martin O'Donnell and Michael Salvatori                                                       MS
                            Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 46 of 104


Notes            Malia Questions




nothing in buma/stemra; in Sabam = ASCAP,
nothing in buma/stemra; nothing in SABAM; nothing in sacem




According to Buma/stemra : Warner Chappel Music Holland BV = Performing (00005876576) ; - Martin & Michael owned Mechanical Rights (no society listed); SOCAN
                                      Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 47 of 104




(no society listed); SOCAN - Warner Chappell Music Canada; SABAM list WB Music Corp and SESAC (mechanicals, and Warner-Chappel - Belgium - SABAM (Performance & Mech
                                      Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 48 of 104




BAM (Performance & Mechanicals); SACEM= Society P E C F;
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Order       Project       Project                            Workin Album Title                        Disc #       Track #
            release                                          g Track
                                                             (Song)
                                                             Title

        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            1          7
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            1          8
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            1          9
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            1         10
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            1         11
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            1         12
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            1         13
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            1         14
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            1         15
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            1         16
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            1         17
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            2          1
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            2          2
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            2          3
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            2          4
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            2          5
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            2          6
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            2          7
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            2          8
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            2          9
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            2         10
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            2         11
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            2         12
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            2         13
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            2         14
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            2         15
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            2         16
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            2         17
        8    11/15/2011   Halo: Combat Evolved Anniversary          Halo: Combat Evolved Anniversary            2         18
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Song Title                                           Performing Artist(s)




A Private Service                                    Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Rock in a Hard Place                                 Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Flotsam, Jetsam                                      Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Captain, My Captain                                  Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Suite Fall                                           Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Demons and Heretics                                  Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Exfiltration                                         Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Honest Negotiation Suite                             Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Unless You Mean To Shoot                             Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Infiltration                                         Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Strung                                               Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Still, Moving                                        Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Lions and Tigers and…                                Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Between Beams                                        Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Paranoid Illusion                                    Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Xenoarchaeology                                      Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Choreographite                                       Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
In the Substance of it                               Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
How to Get Ahead in War                              Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Unreliable Exploration                               Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Dewy Decimate                                        Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
First Step                                           Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Arborea Above                                        Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Bad Dream                                            Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Cloaked in Blackness                                 Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Strident                                             Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
To Sleep                                             Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Marathon Sprint                                      Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Fragments                                            Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
                             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 51 of 104


Writer(s)                                Societ   IPI # from web   Societ ISWC: ICE    Publisher   Pub         Society IPI# from Malia
                                                  for writers                                      Confirmed
                                         y                         y            code   (s)
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Martin O'Donnell and Michael Salvatori                                                 MS
Martin O'Donnell and Michael Salvatori                                                 MS
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Martin O'Donnell and Michael Salvatori                                                 MS
Martin O'Donnell and Michael Salvatori                                                 MS
                  Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 52 of 104


Notes   Malia Questions
                             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 53 of 104


Order      Project       Project                            Workin Album Title                                 Disc #       Track #
           release                                          g Track
                                                            (Song)
                                                            Title

       8    11/15/2011   Halo: Combat Evolved Anniversary             Halo: Combat Evolved Anniversary                  2         19
       8    11/15/2011   Halo: Combat Evolved Anniversary             Halo: Combat Evolved Anniversary                  2         20
       8    11/15/2011   Halo: Combat Evolved Anniversary             Halo: Combat Evolved Anniversary                  2         21
       8    11/15/2011   Halo: Combat Evolved Anniversary             Halo: Combat Evolved Anniversary                  2         22
      11      1/1/2012   Halo 4                             M42 End n/a                                        n/a          n/a
      11      1/1/2012   Halo 4                                       n/a
                                                            M80 Opening                                        n/a          n/a
      11      1/1/2012   Halo 4                                       n/a
                                                            M32 Infinity                                       n/a          n/a
      11      1/1/2012   Halo 4                                       n/a
                                                            Generic Action                                     n/a          n/a
      11      1/1/2012   Halo 4                             M20 Tower n/a                                      n/a          n/a
      11      1/1/2012   Halo 4                                       n/a
                                                            M10 Opening                                        n/a          n/a
       9    10/20/2012   Halo 4                                       Halo 4 Soundtrack
                                                            The Awakening                                               1          1
       9    10/20/2012   Halo 4                             E3        Halo 4 Soundtrack                                 1          2
       9    10/20/2012   Halo 4                             Vista     Halo 4 Soundtrack                                 1          3
       9    10/20/2012   Halo 4                             ForerunnerHalo 4 Soundtrack                                 1          4
       9    10/20/2012   Halo 4                             Covenant Halo
                                                                      Battle4 Soundtrack                                1          5
       9    10/20/2012   Halo 4                             Haven     Halo 4 Soundtrack                                 1          6
       9    10/20/2012   Halo 4                                       Halo 4 Soundtrack
                                                            Didact Theme                                                1          7
       9    10/20/2012   Halo 4                             Beacon Halo 4 Soundtrack                                    1          8
       9    10/20/2012   Halo 4                                       Halo 4 Soundtrack
                                                            The Librarian                                               1          9
       9    10/20/2012   Halo 4                             To Galaxy Halo 4 Soundtrack                                 1         10
       9    10/20/2012   Halo 4                             Drez B Halo 4 Soundtrack                                    1         11
       9    10/20/2012   Halo 4                             MC ThemeHalo 4 Soundtrack                                   1         12
       9    10/20/2012   Halo 4                             M90 SpaceHalo   4 Soundtrack
                                                                        Battle                                          1         13
       9    10/20/2012   Halo 4                             Didact ExtHalo 4 Soundtrack                                 1         14
       9    10/20/2012   Halo 4                             Green andHalo
                                                                       Blue4 Soundtrack                                 1         15
   10.75     12/4/2012   Halo 4                                       Halo 4: (Original Soundtrak: Remixes):            1          1
   10.75     12/4/2012   Halo 4                                       Halo 4: (Original Soundtrak: Remixes):            1          2
   10.75     12/4/2012   Halo 4                                       Halo 4: (Original Soundtrak: Remixes):            1          3
   10.75     12/4/2012   Halo 4                                       Halo 4: (Original Soundtrak: Remixes):            1          4
                                Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 54 of 104


Song Title                                                Performing Artist(s)




Heretic Machine                                           Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Unfortunate Discovery                                     Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Heliopause                                                Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Didactic Principal                                        Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon
Ascendant                                                 Hollywood Studio Symphony (on ASCAP) (Kazuma Jinnouchi)
Installation 04 (called Installation 03 in ASCAP)         Hollywood Studio Symphony (Kazuma Jinnouchi)
Mayday                                                    Kazuma Jinnouchi
Skirmish                                                  Kazuma Jinnouchi
Vertigo                                                   Kazuma Jinnouchi
When You Need Me                                          Kazuma Jinnouchi
Awakening                                                 Neil Davidge
Belly Of The Beast                                        Neil Davidge
Requiem                                                   Neil Davidge
Legacy                                                    Neil Davidge
Faithless                                                 Neil Davidge
Haven                                                     Neil Davidge
Nemesis                                                   Neil Davidge
Ascendancy                                                Neil Davidge
Solace                                                    Neil Davidge
To Galaxy                                                 Neil Davidge
Immaterial                                                Neil Davidge
117                                                       Hollywood Studio Symphony
Arrival                                                   Neil Davidge
Revival                                                   Neil Davidge
Green and Blue                                            Neil Davidge
Awakening (Gui Boratto Remix)                             Neil Davidge
Green and Blue (KOAN Sound Remix)                         Neil Davidge
Requiem (Bobby Tank Remix)                                Neil Davidge
Ascendancy (Caspa Remix)                                  Neil Davidge
                             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 55 of 104


Writer(s)                                Societ   IPI # from web   Societ ISWC: ICE    Publisher   Pub         Society IPI# from Malia
                                                  for writers                                      Confirmed
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                                                                   by MJ
Martin O'Donnell and Michael Salvatori                                                 MS
Martin O'Donnell and Michael Salvatori                                                 MS
Martin O'Donnell and Michael Salvatori                                                 MS
Martin O'Donnell and Michael Salvatori                                                 MS
Kazuma Jinnouchi                         ASCAP     436005882 ASCAP/100%
                                                                    T9090912780        Microsoft Music Publishing
                                                                                                             ASCAP            349532445
Kazuma Jinnouchi                         ASCAP                                         Microsoft Music Publishing
                                                                                                             ASCAP
Kazuma Jinnouchi                         ASCAP
Kazuma Jinnouchi                         ASCAP                                         Microsoft Music Publishing
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Kazuma Jinnouchi                         ASCAP                                         Microsoft Music Publishing
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Kazuma Jinnouchi                         ASCAP                                         Microsoft Music Publishing
                                                                                                             ASCAP
Neil James Davidge                       PRS                             T9092341054   7Hz (on behalf of MS Music
                                                                                                             PRS Publishing)
Neil James Davidge                       PRS                                           7Hz (on behalf of MS Music
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Neil James Davidge                       PRS                                           7Hz (on behalf of MS Music
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Neil James Davidge                       PRS                                           7Hz (on behalf of MS Music
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Neil James Davidge                       PRS                                           7Hz (on behalf of MS Music
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Neil James Davidge                       PRS                                           7Hz (on behalf of MS Music
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Neil James Davidge                       PRS                                           7Hz (on behalf of MS Music
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Neil James Davidge                       PRS                                           7Hz (on behalf of MS Music
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Neil James Davidge                       PRS                                           7Hz (on behalf of MS Music
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Neil James Davidge                       PRS                                           7Hz (on behalf of MS Music
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Neil James Davidge                       PRS                                           7Hz (on behalf of MS Music
                                                                                                             PRS Publishing)
Kazuma Jinnouchi                         ASCAP     436005882             T9090898332   7Hz (on behalf of MS Music
                                                                                                             PRS Publishing)
Neil James Davidge                       PRS                                           7Hz (on behalf of MS Music
                                                                                                             PRS Publishing)
Neil James Davidge                       PRS                                           7Hz (on behalf of MS Music
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Neil James Davidge                       PRS       121710524             T9092341269   7Hz (on behalf of MS Music
                                                                                                             PRS Maybe
                                                                                                                  Publishing)
                                                                                                                        in recording?
Neil James Davidge +?                    PRS                             T9092341316   7Hz (on behalf of MS Music Publishing)
Neil James Davidge +?                    PRS
Neil James Davidge +?                    PRS
Neil James Davidge +?                    PRS
                             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 56 of 104


Notes            Malia Questions




COOL Music has never
                According
                     provided
                           to ASCAP
                               the MU
                                    - ASCAP
                                      Agreement.
                                            has 100%
COOL Music has never provided the MU Agreement.
COOL Music has never provided the MU Agreement.
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COOL Music has never provided the MU Agreement.
Were these the winners
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                               ASCAP - ASCAP has 100%
Were these the winners
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                          a contest?
                              proposed as part of 7Hz contract
Were these the winners
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                          a contest?
                              proposed as part of 7Hz contract
Were these the winners
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                          a contest?
                              proposed as part of 7Hz contract
                             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 57 of 104


Order      Project       Project                   Workin Album Title                                  Disc #       Track #
           release                                 g Track
                                                   (Song)
                                                   Title

   10.75     12/4/2012   Halo 4                               Halo 4: (Original Soundtrak: Remixes):            1          5
   10.75     12/4/2012   Halo 4                               Halo 4: (Original Soundtrak: Remixes):            1          6
   10.75     12/4/2012   Halo 4                               Halo 4: (Original Soundtrak: Remixes):            1          7
   10.75     12/4/2012   Halo 4                               Halo 4: (Original Soundtrak: Remixes):            1          8
   10.75     12/4/2012   Halo 4                               Halo 4: (Original Soundtrak: Remixes):            1          9
   10.75     12/4/2012   Halo 4                               Halo 4: (Original Soundtrak: Remixes):            1         10
   10.75     12/4/2012   Halo 4                               Halo 4: (Original Soundtrak: Remixes):            1         11
   10.75     12/4/2012   Halo 4                               Halo 4: (Original Soundtrak: Remixes):            1         12
   10.75     12/4/2012   Halo 4                               Halo 4: (Original Soundtrak: Remixes):            1         13
   10.75     12/4/2012   Halo 4                               Halo 4: (Original Soundtrak: Remixes):            1         14
    10.8    12/10/2012   Halo 4                    Boarding party
                                                              n/a                                      n/a          n/a
    10.8    12/10/2012   Halo 4                    Cloud Cityn/a
                                                              Variation                                n/a          n/a
    10.8    12/10/2012   Halo 4                    CONVOY JW  n/a                                      n/a          n/a
    10.8    12/10/2012   Halo 4                    Covenant n C/a                                      n/a          n/a
    10.8    12/10/2012   Halo 4                    COVENANT   n/a                                      n/a          n/a
    10.8    12/10/2012   Halo 4                    D-Rez A n/a                                         n/a          n/a
    10.8    12/10/2012   Halo 4                    D-Rez Battle
                                                              n/avariation                             n/a          n/a
    10.8    12/10/2012   Halo 4                    Elite      n/a                                      n/a          n/a
    10.8    12/10/2012   Halo 4                    Falling apart
                                                              n/a                                      n/a          n/a
    10.8    12/10/2012   Halo 4                    For Blue n/a                                        n/a          n/a
    10.8    12/10/2012   Halo 4                    Fragmentation
                                                              n/a                                      n/a          n/a
    10.8    12/10/2012   Halo 4                    Ghost of Former
                                                              n/a Self                                 n/a          n/a
    10.8    12/10/2012   Halo 4                    H4 COVENANTn/a EXTENDED                             n/a          n/a
    10.8    12/10/2012   Halo 4                    Hero of Destiny
                                                              n/a                                      n/a          n/a
    10.8    12/10/2012   Halo 4                    In Memoryn/aof                                      n/a          n/a
    10.8    12/10/2012   Halo 4                    M80 Covenant
                                                              n/a Battle Ambient Variation             n/a          n/a
    10.8    12/10/2012   Halo 4                    Out from the
                                                              n/a creater                              n/a          n/a
    10.8    12/10/2012   Halo 4                    Overload n/a                                        n/a          n/a
    10.8    12/10/2012   Halo 4                    Push Through
                                                              n/a Variation                            n/a          n/a
                              Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 58 of 104


Song Title                                              Performing Artist(s)




To Galaxy (Sander Van Doorn & Julian Jordan Remix)      Neil Davidge
Haven (Hundred Waters Remix)                            Neil Davidge
Revival (DJ Skee & THX Remix)                           Neil Davidge
Ascendancy (Matt Lange Remix)                           Neil Davidge
Nemesis (Alvin Risk Remix)                              Neil Davidge
Solace (Maor Levi Remix)                                Neil Davidge
Arrival (Norin & Rad Remix)                             Neil Davidge
Green and Blue (Andrew Bayer Remix)                     Neil Davidge
Foreshadow (James Iha Remix)                            Neil Davidge
The Beauty of Cortana (Apocalyptica vs. Neil Davidge)   Neil Davidge
n/a                                                     Neil Davidge
n/a                                                     Neil Davidge
n/a                                                     Neil Davidge
n/a                                                     Neil Davidge
n/a                                                     Neil Davidge
n/a                                                     Neil Davidge
n/a                                                     Neil Davidge
n/a                                                     Neil Davidge
n/a                                                     Neil Davidge
n/a                                                     Neil Davidge
n/a                                                     Neil Davidge
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n/a                                                     Neil Davidge
n/a                                                     Neil Davidge
n/a                                                     Neil Davidge
                        Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 59 of 104


Writer(s)                          Societ   IPI # from web   Societ ISWC: ICE    Publisher   Pub         Society IPI# from Malia
                                            for writers                                      Confirmed
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Neil James Davidge +?              PRS
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Neil Davidge                       PRS                                           7Hz (on behalf of MS Music Publishing)
Neil Davidge                       PRS                                           7Hz (on behalf of MS Music Publishing)
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Neil Davidge                       PRS                                           7Hz (on behalf of MS Music Publishing)
                              Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 60 of 104


Notes             Malia Questions




Were these the winners
                   These of
                         were
                            a contest?
                               proposed as part of 7Hz contract
Were these the winners
                   These of
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                            a contest?
                               proposed as part of 7Hz contract
Were these the winners
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                            a contest?
                               proposed as part of 7Hz contract
Were these the winners
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                               proposed as part of 7Hz contract
Were these the winners
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                            a contest?
                               proposed as part of 7Hz contract
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                               proposed as part of 7Hz contract
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                               proposed as part of 7Hz contract
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                            a contest?
                               proposed as part of 7Hz contract
Were these the winners
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                            a contest?
                               proposed as part of 7Hz contract
Were these the winners
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                            a contest?
                               proposed as part of 7Hz contract
Never released titles
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                             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 61 of 104


Order      Project       Project                   Workin Album Title                         Disc #       Track #
           release                                 g Track
                                                   (Song)
                                                   Title

    10.8    12/10/2012   Halo 4                    Rampancyn/a 1                              n/a          n/a
    10.8    12/10/2012   Halo 4                    Strange Outside
                                                              n/a                             n/a          n/a
    10.8    12/10/2012   Halo 4                    Strength Within
                                                              n/a                             n/a          n/a
    10.8    12/10/2012   Halo 4                    Swamp Battle
                                                              n/a Variation                   n/a          n/a
    10.8    12/10/2012   Halo 4                    The Redeemer
                                                              n/a                             n/a          n/a
    10.8    12/10/2012   Halo 4                    This is whon/a
                                                               I am                           n/a          n/a
    10.8    12/10/2012   Halo 4                    To Battle n/a                              n/a          n/a
    10.8    12/10/2012   Halo 4                    To save a galexy
                                                              n/a                             n/a          n/a
    10.8    12/10/2012   Halo 4                    Warrior Caste
                                                              n/a                             n/a          n/a
    10.8    12/10/2012   Halo 4                    Who's Housen/a is this                     n/a          n/a
     10       4/9/2013   Halo 4                    Vocal ThemeHalo 4 Soundtrack Volume 2               1          1
     10       4/9/2013   Halo 4                    M10 Escape Halo 4 Soundtrack Volume 2               1          2
     10       4/9/2013   Halo 4                    M20 Crater Halo 4 Soundtrack Volume 2               1          3
     10       4/9/2013   Halo 4                    Alien      Halo 4 Soundtrack Volume 2               1          4
     10       4/9/2013   Halo 4                    Kantele BowHalo 4 Soundtrack Volume 2               1          5
     10       4/9/2013   Halo 4                    Pylons4 Halo 4 Soundtrack Volume 2                  1          6
     10       4/9/2013   Halo 4                    M30 Escape Halo 4 Soundtrack Volume 2               1          7
     10       4/9/2013   Halo 4                    Swamp Halo 4 Soundtrack Volume 2                    1          8
     10       4/9/2013   Halo 4                               Halo 4 Soundtrack Volume 2
                                                   Push Through                                        1          9
     10       4/9/2013   Halo 4                    Convoy Halo 4 Soundtrack Volume 2                   1         10
     10       4/9/2013   Halo 4                    To Galaxy Halo   4 Soundtrack Volume 2
                                                              Extended                                 1         11
     10       4/9/2013   Halo 4                    Lasky ThemeHalo 4 Soundtrack Volume 2               1         12
     10       4/9/2013   Halo 4                    Foreshadow Halo 4 Soundtrack Volume 2               1         13
     10       4/9/2013   Halo 4                    Cloud CityHalo 4 Soundtrack Volume 2                1         14
     10       4/9/2013   Halo 4                    This ArmourHalo 4 Soundtrack Volume 2               1         15
     10       4/9/2013   Halo 4                               Halo 4 Soundtrack
                                                   M10 Observatory     Deck      Volume 2              1         16
     10       4/9/2013   Halo 4                    M60 MechHalo 4 Soundtrack Volume 2                  1         17
     10       4/9/2013   Halo 4                    MC ThemeHalo     4 Soundtrack Volume 2
                                                               Variation                               1         18
     10       4/9/2013   Halo 4                               Halo 4 Soundtrack Volume 2
                                                   Never Forget                                        1         19
                             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 62 of 104


Song Title                                             Performing Artist(s)




n/a                                                    Neil Davidge
n/a                                                    Neil Davidge
n/a                                                    Neil Davidge
n/a                                                    Neil Davidge
n/a                                                    Neil Davidge
n/a                                                    Neil Davidge
n/a                                                    Neil Davidge
n/a                                                    Neil Davidge
n/a                                                    Neil Davidge
n/a                                                    Neil Davidge
Atonement                                              Hollywood Studio Symphony (Kazuma Jinnouchi)
Gravity                                                Hollywood Studio Symphony (Kazuma Jinnouchi)
Wreckage                                               Kazuma Jinnouchi
Aliens                                                 Neil Davidge
Kantele Bow                                            Neil Davidge
Pylons                                                 Neil Davidge
Escape                                                 Neil Davidge (or Kazuma Jinnouchi)
Swamp                                                  Neil Davidge
Push Through                                           Neil Davidge
Convoy                                                 Neil Davidge
To Galaxy (Extended)                                   Neil Davidge
Lasky's Theme                                          Hollywood Studio Symphony and Kazuma Jinnouchi
Foreshadow                                             Neil Davidge
Cloud City                                             Neil Davidge
This Armour                                            Neil Davidge
Intruders                                              Hollywood Studio Symphony(Kazuma Jinnouchi)
Mantis                                                 Hollywood Symphony (Kazuma Jinnouchi)
Sacrifice                                              Kazuma Jinnouchi
Never Forget - Midnight Version                        Hollywood Symphony (Kazuma Jinnouchi)
                     Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 63 of 104


Writer(s)                       Societ   IPI # from web   Societ ISWC: ICE       Publisher   Pub         Society IPI# from Malia
                                         for writers                                         Confirmed
                                y                         y            code      (s)
                                                          Confir
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Neil Davidge                    PRS                                            7Hz (on behalf of MS Music Publishing)
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Neil Davidge                    PRS                                            7Hz (on behalf of MS Music Publishing)
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Neil Davidge                    PRS                                            7Hz (on behalf of MS Music Publishing)
Neil Davidge                    PRS                                            7Hz (on behalf of MS Music Publishing)
Neil Davidge                    PRS                                            7Hz (on behalf of MS Music Publishing)
Neil Davidge                    PRS                                            7Hz (on behalf of MS Music Publishing)
Kazuma Jinnouchi                ASCAP     436005882       ASCAP/100%
                                                                 T9090901841
                                                                         2E+07 7Hz (on behalf
                                                                                          On ASCAP
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                                                                                                      is MSFT
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Kazuma Jinnouchi                ASCAP     436005882              T9090909287 7Hz (on behalf of MS Music
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Kazuma Jinnouchi                ASCAP                                          7Hz (on behalf of MS Music
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Neil James Davidge              PRS                                            7Hz (on behalf of MS Music
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Neil James Davidge              PRS                                            7Hz (on behalf of MS Music
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Neil James Davidge              PRS                                            7Hz (on behalf of MS Music
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Kazuma Jinnouchi                ASCAP                                          7Hz (on behalf of MS Music
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Neil James Davidge              PRS                                            7Hz (on behalf of MS Music
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Neil James Davidge              PRS                                            7Hz (on behalf of MS Music
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Neil James Davidge              PRS                                            7Hz (on behalf of MS Music
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Neil James Davidge              PRS                                            7Hz (on behalf of MS Music
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Kazuma Jinnouchi                ASCAP     436005882       ASCAP 100%
                                                                 T9090912326 7Hz (on behalf of MS Music
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Neil James Davidge              PRS                                            7Hz (on behalf of MS Music
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Neil James Davidge              PRS                                            7Hz (on behalf of MS Music
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Neil James Davidge              PRS                                            7Hz (on behalf of MS Music
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Kazuma Jinnouchi                ASCAP     436005882       ASCAP 100%
                                                                 T9090906595 7Hz (on behalf of MS Music
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Kazuma Jinnouchi                ASCAP     436005882       ASCAP 100%
                                                                 T9090913114
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                                                                                                     PRS Publishing)
Kazuma Jinnouchi                ASCAP                                          7Hz (on behalf of MS Music
                                                                                                     PRS Publishing)
Kazuma Jinnouchi                ASCAP                                          7Hz (on behalf of MS Music
                                                                                                     PRS Publishing)
                            Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 64 of 104


Notes            Malia Questions




Never released titles
Never released titles
Never released titles
Never released titles
Never released titles
Never released titles
Never released titles
Never released titles
Never released titles
Never released titles
Peter Rotter was contractor and Nobuko Toda (Film Score was vendor)
Peter Rotter was contractor and Nobuko Toda (Film Score was vendor)

COOL Music has never provided the MU Agreement.
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Peter Rotter was contractor and Nobuko Toda (Film Score was vendor)
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                               Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 65 of 104


Order        Project       Project                   Workin Album Title                         Disc #       Track #
             release                                 g Track
                                                     (Song)
                                                     Title

        10      4/9/2013   Halo 4                             HaloOps
                                                     M32 Spartan   4 Soundtrack
                                                                      Animatic Volume 2                  1         20
        12     7/10/2013   Halo 4                             Halo 4: Forward Unto Dawn                  1          1
        12     7/10/2013   Halo 4                             Halo 4: Forward Unto Dawn                  1          2
        12     7/10/2013   Halo 4                             Halo 4: Forward Unto Dawn                  1          3
        12     7/10/2013   Halo 4                             Halo 4: Forward Unto Dawn                  1          4
        12     7/10/2013   Halo 4                             Halo 4: Forward Unto Dawn                  1          5
        12     7/10/2013   Halo 4                             Halo 4: Forward Unto Dawn                  1          6
        12     7/10/2013   Halo 4                             Halo 4: Forward Unto Dawn                  1          7
        12     7/10/2013   Halo 4                             Halo 4: Forward Unto Dawn                  1          8
        12     7/10/2013   Halo 4                             Halo 4: Forward Unto Dawn                  1          9
        12     7/10/2013   Halo 4                             Halo 4: Forward Unto Dawn                  1         10
        12     7/10/2013   Halo 4                             Halo 4: Forward Unto Dawn                  1         11
        12     7/10/2013   Halo 4                             Halo 4: Forward Unto Dawn                  1         12
        12     7/10/2013   Halo 4                             Halo 4: Forward Unto Dawn                  1         13
        12     7/10/2013   Halo 4                             Halo 4: Forward Unto Dawn                  1         14
        12     7/10/2013   Halo 4                             Halo 4: Forward Unto Dawn                  1         15
        12     7/10/2013   Halo 4                             Halo 4: Forward Unto Dawn                  1         16
        12     7/10/2013   Halo 4                             Halo 4: Forward Unto Dawn                  1         17
        12     7/10/2013   Halo 4                             Halo 4: Forward Unto Dawn                  1         18
        12     7/10/2013   Halo 4                             Halo 4: Forward Unto Dawn                  1         19
        12     7/10/2013   Halo 4                             Halo 4: Forward Unto Dawn                  1         20
        12     7/10/2013   Halo 4                             Halo 4: Forward Unto Dawn                  1         21
        13     7/18/2013   Halo: Spartan Assault              Halo: Spartan Assault                      1          1
        13     7/18/2013   Halo: Spartan Assault              Halo: Spartan Assault                      1          2
        13     7/18/2013   Halo: Spartan Assault              Halo: Spartan Assault                      1          3
        13     7/18/2013   Halo: Spartan Assault              Halo: Spartan Assault                      1          4
        13     7/18/2013   Halo: Spartan Assault              Halo: Spartan Assault                      1          5
        13     7/18/2013   Halo: Spartan Assault              Halo: Spartan Assault                      1          6
        13     7/18/2013   Halo: Spartan Assault              Halo: Spartan Assault                      1          7
                     Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 66 of 104


Song Title                                     Performing Artist(s)




Majestic                                       Kazuma Jinnouchi
Sphere                                         None listed
Cryo                                           None listed
Reflections                                    None listed
C.A.M.S                                        None listed
Sleep                                          None listed
4AM                                            None listed
Volcano                                        None listed
Paratus                                        None listed
Flag                                           None listed
Secrets                                        None listed
Classified                                     None listed
Decisions                                      None listed
Leaving                                        None listed
Invasion                                       None listed
Locker                                         None listed
Survivors                                      None listed
Sniper                                         None listed
Warthog                                        None listed
K.I.A.                                         None listed
Axios                                          None listed
Forward                                        None listed
Legacy                                         None Listed
Stark                                          None Listed
Who's There                                    None Listed
Bridge Too Far                                 None Listed
Hunted                                         None Listed
Ready or Not                                   None Listed
Wolverine's Return                             None Listed
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Writer(s)                     Societ   IPI # from web   Societ ISWC: ICE    Publisher   Pub         Society IPI# from Malia
                                       for writers                                      Confirmed
                              y                         y            code   (s)
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                                                        by MJ
Kazuma Jinnouchi              ASCAP                                         7Hz (on behalf of MS Music
                                                                                                  PRS Publishing)
Nathan Lanier                                                               MS
Nathan Lanier                                                               MS
Nathan Lanier                                                               MS
Nathan Lanier                                                               MS
Nathan Lanier                                                               MS
Nathan Lanier                                                               MS
Nathan Lanier                                                               MS
Nathan Lanier                                                               MS
Nathan Lanier                                                               MS
Nathan Lanier                                                               MS
Nathan Lanier                                                               MS
Nathan Lanier                                                               MS
Nathan Lanier                                                               MS
Nathan Lanier                                                               MS
Nathan Lanier                                                               MS
Nathan Lanier                                                               MS
Nathan Lanier                                                               MS
Nathan Lanier                                                               MS
Nathan Lanier                                                               MS
Nathan Lanier                                                               MS
Nathan Lanier                                                               MS
Tom Salta                                                                   MS
Tom Salta                                                                   MS
Tom Salta                                                                   MS
Tom Salta                                                                   MS
Tom Salta                                                                   MS
Tom Salta                                                                   MS
Tom Salta                                                                   MS
                             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 68 of 104


Notes            Malia Questions




Was this soundtrack ever released?
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Order      Project       Project                           Workin Album Title                              Disc #       Track #
           release                                         g Track
                                                           (Song)
                                                           Title

     13      7/18/2013   Halo: Spartan Assault                    Halo: Spartan Assault                             1          8
     13      7/18/2013   Halo: Spartan Assault                    Halo: Spartan Assault                             1          9
     13      7/18/2013   Halo: Spartan Assault                    Halo: Spartan Assault                             1         10
     13      7/18/2013   Halo: Spartan Assault                    Halo: Spartan Assault                             1         11
     13      7/18/2013   Halo: Spartan Assault                    Halo: Spartan Assault                             1         12
     13      7/18/2013   Halo: Spartan Assault                    Halo: Spartan Assault                             1         13
     13      7/18/2013   Halo: Spartan Assault                    Halo: Spartan Assault                             1         14
     13      7/18/2013   Halo: Spartan Assault                    Halo: Spartan Assault                             1         15
     13      7/18/2013   Halo: Spartan Assault                    Halo: Spartan Assault                             1         16
     13      7/18/2013   Halo: Spartan Assault                    Halo: Spartan Assault                             1         17
     13      7/18/2013   Halo: Spartan Assault                    Halo: Spartan Assault                             1         18
     13      7/18/2013   Halo: Spartan Assault                    Halo: Spartan Assault                             1         19
     13      7/18/2013   Halo: Spartan Assault                    Halo: Spartan Assault                             1         20
     13      7/18/2013   Halo: Spartan Assault                    Halo: Spartan Assault                             1         21
     13      7/18/2013   Halo: Spartan Assault                    Halo: Spartan Assault                             1         22
     13      7/18/2013   Halo: Spartan Assault                    Halo: Spartan Assault                             1         23
     13      7/18/2013   Halo: Spartan Assault                    Halo: Spartan Assault                             1         24
     13      7/18/2013   Halo: Spartan Assault                    Halo: Spartan Assault                             1         25
     13      7/18/2013   Halo: Spartan Assault                    Halo: Spartan Assault                             1         26
     13      7/18/2013   Halo: Spartan Assault                    Halo: Spartan Assault                             1         27
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack   Halo 2 Anniversary Original Soundtrack            1          1
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack   Halo 2 Anniversary Original Soundtrack            1          2
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack   Halo 2 Anniversary Original Soundtrack            1          3
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack   Halo 2 Anniversary Original Soundtrack            1          4
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack   Halo 2 Anniversary Original Soundtrack            1          5
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack   Halo 2 Anniversary Original Soundtrack            1          6
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack   Halo 2 Anniversary Original Soundtrack            1          7
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack   Halo 2 Anniversary Original Soundtrack            1          8
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack   Halo 2 Anniversary Original Soundtrack            1          9
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Song Title                                             Performing Artist(s)




Rising Legacy                                          None Listed
Survive                                                None Listed
Prelude                                                None Listed
Breaking the Code                                      None Listed
The Big Guns                                           None Listed
Quiet Giant                                            None Listed
Guns in the Dark                                       None Listed
Epic Evolution                                         None Listed
Eliminate the Resistance                               None Listed
Night Dreams                                           None Listed
Wolverines Reborn                                      None Listed
Regret                                                 None Listed
Castle Defense                                         None Listed
Simple Mystery                                         None Listed
Intimate                                               None Listed
Onslaught                                              None Listed
Elevated                                               None Listed
Knock Knock                                            None Listed
Night Guards                                           None Listed
Finishing the Fight                                    None Listed
Halo Theme Gungnir Mix (Feat. Steve Vai)               Steve Vai, Skywalker Symphony Orchestra (Skywalker Chorus and The San Franciso Boys Chorus as
Skyline                                                The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Not a Number                                           The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Kilindini Harbour                                      The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Only a Star, Only the Sea                              The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
A Spartan Rises                                        The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Unforgotten Memories                                   The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Second Prelude                                         The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
This Glittering Band                                   The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
                             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 71 of 104


Writer(s)                                   Societ   IPI # from web   Societ ISWC: ICE     Publisher   Pub         Society IPI# from Malia
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Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
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Tom Salta                                                                                  MS
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Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
Martin O'Donnell and Michael Salvatori - Adapted
                                             ASCAP
                                                 and orchestrated
                                                     126846560 andby Paul
                                                                     130210548
                                                                          Lipson,
                                                                           T9158979329
                                                                                  Lennie Moore,
                                                                                           MS Tom Salta,
                                                                                                     Microsoft
                                                                                                           Brian Trifon,
                                                                                                                 Music
                                                                                                                  ASCAPPublishing
                                                                                                                         and Brian Lee
                                                                                                                                    349532445
                                                                                                                                       White
Martin O'Donnell and Michael Salvatori - Adapted
                                             ASCAP
                                                 and orchestrated
                                                     126846560 andby Paul
                                                                     130210548
                                                                          Lipson,
                                                                           T9030008709
                                                                                  Lennie Moore,
                                                                                           MS Tom Salta,
                                                                                                     Microsoft
                                                                                                           Brian Trifon,
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                                                                                                                  ASCAPPublishing
                                                                                                                         and Brian Lee
                                                                                                                                    349532445
                                                                                                                                       White
Martin O'Donnell and Michael Salvatori - Adapted
                                             ASCAP
                                                 and orchestrated
                                                     126846658 andby 130210548
                                                                     Paul Lipson,
                                                                           T9158988353
                                                                                  Lennie Moore,
                                                                                           MS Tom Salta,
                                                                                                     Microsoft
                                                                                                           Brian Trifon,
                                                                                                                 Music
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                                                                                                                                       White
Martin O'Donnell and Michael Salvatori - Adapted
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                                                                     Paul Lipson, Lennie Moore,
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Notes             Malia Questions




On ASCAP - Martin & Michael are listed as additional performers to Paul, Lennie, Tom and Brian
on ASCAP site, Paul Lipson, Lennie Moore, Tom Salta, and Brian T are listed as performers
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Order      Project       Project                            Workin Album Title                                  Disc #       Track #
           release                                          g Track
                                                            (Song)
                                                            Title

    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             1         10
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             1         11
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             1         12
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             1         13
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             1         14
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             1         15
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             1         16
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             1         17
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             1         18
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             2          1
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             2          2
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             2          3
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             2          4
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             2          5
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             2          6
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             2          7
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             2          8
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             2          9
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             2         10
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             2         11
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             2         12
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             2         13
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             2         14
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             2         15
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             2         16
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack       Halo 2 Anniversary Original Soundtrack             2         17
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack - VinylHalo 2 Anniversary Original Soundtrack   A                   1
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack - VinylHalo 2 Anniversary Original Soundtrack   A                   2
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack - VinylHalo 2 Anniversary Original Soundtrack   A                   3
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Song Title                                             Performing Artist(s)




Jeopardy                                               The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Halo Theme Scorpion Mix                                The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Punishment                                             The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Promise the Girl                                       The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Unsullied Memory                                       The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Arise In Valor                                         The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Unwearied Heart                                        The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Spartan's Regret                                       The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Genesong (Feat. Steve Vai)                             Steve Vai, Skywalker Symphony Orchestra (Skywalker Chorus and The San Franciso Boys Chorus as
Breaking the Covenant                                  The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Follow in Flight                                       The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Cryptic Whisper                                        The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Impart                                                 The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Charity's Irony                                        The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Moon Over Mombasa                                      The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Trapped in Amber                                       The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Builder's Legacy                                       The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Moon Over Mombasa Part 2                               The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Librarian's Gift                                       The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Zealous Champion                                       The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Steward, Shepard, Lonely Soul                          The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Africa Suite                                           The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Prophet Suite                                          The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Into the Belly of the Beast                            The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Cracked Legend                                         The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Menace No More                                         The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Halo Theme Gungnir Mix (Feat. Steve Vai)               Steve Vai, Skywalker Symphony Orchestra (Skywalker Chorus and The San Franciso Boys Chorus as
Not a Number                                           The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Kilindini Harbour                                      The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
                             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 75 of 104


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                                                                       by MJ
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Notes   Malia Questions
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Order      Project       Project                            Workin Album Title                                  Disc #       Track #
           release                                          g Track
                                                            (Song)
                                                            Title

    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack - VinylHalo 2 Anniversary Original Soundtrack   A                      4
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack - VinylHalo 2 Anniversary Original Soundtrack   A                      5
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack - VinylHalo 2 Anniversary Original Soundtrack   A                      6
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack - VinylHalo 2 Anniversary Original Soundtrack   A                      7
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack - VinylHalo 2 Anniversary Original Soundtrack   B                      1
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack - VinylHalo 2 Anniversary Original Soundtrack   B                      2
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack - VinylHalo 2 Anniversary Original Soundtrack   B                      3
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack - VinylHalo 2 Anniversary Original Soundtrack   B                      4
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack - VinylHalo 2 Anniversary Original Soundtrack   B                      5
    13.5    11/11/2014   Halo 2 Anniversary Original Soundtrack - VinylHalo 2 Anniversary Original Soundtrack   B                      6
    15.5      1/1/2015   Halo 5: Guardians                  OSR_Gluen/a                                         n/a          n/a
    15.5      1/1/2015   Halo 5: Guardians                              n/a
                                                            OSR_PelicanFlight                                   n/a          n/a
    15.5      1/1/2015   Halo 5: Guardians                              n/a
                                                            OSR_SentryShipDestruction                           n/a          n/a
    15.5      1/1/2015   Halo 5: Guardians                              n/a
                                                            OSR_SentryShipReveal                                n/a          n/a
    15.5      1/1/2015   Halo 5: Guardians                  Osiris Titann/a
                                                                         E3                                     n/a          n/a
     14      4/16/2015   Halo: Spartan Strike                           Halo: Spartan Strike                             1          1
     14      4/16/2015   Halo: Spartan Strike                           Halo: Spartan Strike                             1          2
     14      4/16/2015   Halo: Spartan Strike                           Halo: Spartan Strike                             1          3
     14      4/16/2015   Halo: Spartan Strike                           Halo: Spartan Strike                             1          4
     14      4/16/2015   Halo: Spartan Strike                           Halo: Spartan Strike                             1          5
     14      4/16/2015   Halo: Spartan Strike                           Halo: Spartan Strike                             1          6
     14      4/16/2015   Halo: Spartan Strike                           Halo: Spartan Strike                             1          7
     14      4/16/2015   Halo: Spartan Strike                           Halo: Spartan Strike                             1          8
     14      4/16/2015   Halo: Spartan Strike                           Halo: Spartan Strike                             1          9
     14      4/16/2015   Halo: Spartan Strike                           Halo: Spartan Strike                             1         10
     14      4/16/2015   Halo: Spartan Strike                           Halo: Spartan Strike                             1         11
     14      4/16/2015   Halo: Spartan Strike                           Halo: Spartan Strike                             1         12
     14      4/16/2015   Halo: Spartan Strike                           Halo: Spartan Strike                             1         13
     14      4/16/2015   Halo: Spartan Strike                           Halo: Spartan Strike                             1         14
                              Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 78 of 104


Song Title                                              Performing Artist(s)




A Spartan Rises                                         The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Unforgotten Memories                                    The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Unwearied Heart                                         The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Spartan's Regret                                        The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Breaking the Covenant                                   The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Cryptic Whisper                                         The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Impart                                                  The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Moon over Mombasa                                       The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Trapped in Amber                                        The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
Into the Belly of the Beast                             The Skywalker Symphony Orchestra (The Skywalker Chorus and The San Franciso Boys Chorus as n
n/a                                                     Kazuma Jinnouchi
n/a                                                     Kazuma Jinnouchi
n/a                                                     Kazuma Jinnouchi
n/a                                                     Kazuma Jinnouchi
Titan                                                   Kazuma Jinnouchi
Spartan Strike                                          None Listed
With Her Whisper                                        None Listed
Mombasa Arrival                                         None Listed
In the Clear                                            None Listed
Epic Evolution Reborn                                   None Listed
Just Beyond                                             None Listed
The Time to Ride                                        None Listed
Go Silently Within                                      None Listed
Plan of Attack                                          None Listed
Homeworld Bound                                         None Listed
Stalking Prey                                           None Listed
Legacy Unbound                                          None Listed
New Foe                                                 None Listed
The Canopy for Cover                                    None Listed
                             Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 79 of 104


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                                                                       med
                                                                       by MJ
Martin O'Donnell and Michael Salvatori - Adapted and orchestrated by Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon, and Brian Lee White
Martin O'Donnell and Michael Salvatori - Adapted and orchestrated by Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon, and Brian Lee White
Martin O'Donnell and Michael Salvatori - Adapted and orchestrated by Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon, and Brian Lee White
Martin O'Donnell and Michael Salvatori - Adapted and orchestrated by Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon, and Brian Lee White
Martin O'Donnell and Michael Salvatori - Adapted and orchestrated by Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon, and Brian Lee White
Martin O'Donnell and Michael Salvatori - Adapted and orchestrated by Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon, and Brian Lee White
Martin O'Donnell and Michael Salvatori - Adapted and orchestrated by Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon, and Brian Lee White
Martin O'Donnell and Michael Salvatori - Adapted and orchestrated by Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon, and Brian Lee White
Martin O'Donnell and Michael Salvatori - Adapted and orchestrated by Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon, and Brian Lee White
Martin O'Donnell and Michael Salvatori - Adapted and orchestrated by Paul Lipson, Lennie Moore, Tom Salta, Brian Trifon, and Brian Lee White
Kazuma Jinnouchi                             ASCAP                                         Microsoft Music Publishing
                                                                                                                  ASCAP
Kazuma Jinnouchi                             ASCAP                                         Microsoft Music Publishing
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Kazuma Jinnouchi                             ASCAP                                         Microsoft Music Publishing
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Kazuma Jinnouchi                             ASCAP                                         Microsoft Music Publishing
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Kazuma Jinnouchi                             ASCAP                                         Microsoft Music Publishing
                                                                                                                  ASCAP
Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
Tom Salta                                                                                  MS
                  Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 80 of 104


Notes   Malia Questions
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Order        Project       Project                   Workin Album Title                                     Disc #       Track #
             release                                 g Track
                                                     (Song)
                                                     Title

        14     4/16/2015   Halo: Spartan Strike              Halo: Spartan Strike                                    1         15
        14     4/16/2015   Halo: Spartan Strike              Halo: Spartan Strike                                    1         16
        14     4/16/2015   Halo: Spartan Strike              Halo: Spartan Strike                                    1         17
        14     4/16/2015   Halo: Spartan Strike              Halo: Spartan Strike                                    1         18
        14     4/16/2015   Halo: Spartan Strike              Halo: Spartan Strike                                    1         19
        14     4/16/2015   Halo: Spartan Strike              Halo: Spartan Strike                                    1         20
        14     4/16/2015   Halo: Spartan Strike              Halo: Spartan Strike                                    1         21
        14     4/16/2015   Halo: Spartan Strike              Halo: Spartan Strike                                    1         22
        14     4/16/2015   Halo: Spartan Strike              Halo: Spartan Strike                                    1         23
        14     4/16/2015   Halo: Spartan Strike              Halo: Spartan Strike                                    1         24
        14     4/16/2015   Halo: Spartan Strike              Halo: Spartan Strike                                    1         25
        14     4/16/2015   Halo: Spartan Strike              Halo: Spartan Strike                                    1         26
        14     4/16/2015   Halo: Spartan Strike              Halo: Spartan Strike                                    1         27
        15    10/30/2015   Halo 5: Guardians                 Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_cin_000                                                     1          2
        15    10/30/2015   Halo 5: Guardians                 Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_LockeBattleA                                                1          3
        15    10/30/2015   Halo 5: Guardians                 Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_cin_020_v02                                                 1          4
        15    10/30/2015   Halo 5: Guardians                 Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_cin_035_v02                                                 1          5
        15    10/30/2015   Halo 5: Guardians                 Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_AbandonedStation                                            1          6
        15    10/30/2015   Halo 5: Guardians                 Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_MCBattleB                                                   1          7
        15    10/30/2015   Halo 5: Guardians                 Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_cin_050                                                     1          8
        15    10/30/2015   Halo 5: Guardians                 Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_LockeBattleB                                                1          9
        15    10/30/2015   Halo 5: Guardians                 Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_MeridianBattle                                              1         10
        15    10/30/2015   Halo 5: Guardians                 Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_UnconfirmedReports                                          1         11
        15    10/30/2015   Halo 5: Guardians                 Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_cin_090                                                     1         12
        15    10/30/2015   Halo 5: Guardians                 Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_Warden                                                      1         13
        15    10/30/2015   Halo 5: Guardians                 Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_cin_100                                                     1         14
        15    10/30/2015   Halo 5: Guardians                 Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_SpaceElevator                                               1         15
        15    10/30/2015   Halo 5: Guardians                 Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_cin_105                                                     1         16
        15    10/30/2015   Halo 5: Guardians                 Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_cin_110                                                     1         17
                                Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 82 of 104


Song Title                                                Performing Artist(s)




Hush Now Rush Now                                         None Listed
Careful Steps                                             None Listed
Next Move                                                 None Listed
Origin and Time                                           None Listed
Into the Depths                                           None Listed
Perpetual Motion                                          None Listed
Bring a Bigger Gun                                        None Listed
Attack                                                    None Listed
Rapid Recon                                               None Listed
Native Tongue                                             None Listed
Force Multiplyer                                          None Listed
Jungle Threats                                            None Listed
Spartan Strike Reflection Mix                             None Listed
Light Is Green                                            Kazuma Jinnouchi
Kamchatka                                                 Kazuma Jinnouchi
Return to the Fold                                        Kazuma Jinnouchi
Rock and Ice                                              Kazuma Jinnouchi
Argent Moon                                               Kazuma Jinnouchi
Scavengers                                                Kazuma Jinnouchi
In Absentia                                               Kazuma Jinnouchi
Meridian Crossing                                         Kazuma Jinnouchi
Unearthed                                                 Kazuma Jinnouchi
Unconfirmed Reports                                       Kazuma Jinnouchi
Keeper of Secrets                                         Kazuma Jinnouchi
Cavalier                                                  Kazuma Jinnouchi
Crossed Paths                                             Kazuma Jinnouchi
Untethered                                                Kazuma Jinnouchi
Skeleton Crew                                             Kazuma Jinnouchi
Siren Song                                                Kazuma Jinnouchi
                   Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 83 of 104


Writer(s)                     Societ   IPI # from web   Societ ISWC: ICE     Publisher   Pub         Society IPI# from Malia
                                       for writers                                       Confirmed
                              y                         y            code    (s)
                                                        Confir
                                                        med
                                                        by MJ
Tom Salta                                                                    MS
Tom Salta                                                                    MS
Tom Salta                                                                    MS
Tom Salta                                                                    MS
Tom Salta                                                                    MS
Tom Salta                                                                    MS
Tom Salta                                                                    MS
Tom Salta                                                                    MS
Tom Salta                                                                    MS
Tom Salta                                                                    MS
Tom Salta                                                                    MS
Tom Salta                                                                    MS
Tom Salta                                                                    MS
Kazuma Jinnouchi              ASCAP     436005882       ASCAP 100%
                                                               T9173354375   Microsoft Music Publishing
                                                                                                   ASCAP
Kazuma Jinnouchi              ASCAP     436005882       ASCAP 100%
                                                               T9173350680   Microsoft Music Publishing
                                                                                                   ASCAP
Kazuma Jinnouchi              ASCAP     436005882       ASCAP 100%
                                                               T9173350704   Microsoft Music Publishing
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Kazuma Jinnouchi              ASCAP     436005882       ASCAP 100%
                                                               T9173350715   Microsoft Music Publishing
                                                                                                   ASCAP
Kazuma Jinnouchi              ASCAP     436005882       ASCAP/100%
                                                               T9173352313   Microsoft Music Publishing
                                                                                                   ASCAP            349532445
Kazuma Jinnouchi              ASCAP     436005882       ASCAP 100%
                                                               T9173352324   Microsoft Music Publishing
                                                                                                   ASCAP
Kazuma Jinnouchi              ASCAP     436005882       ASCAP 100%
                                                               T9173352346   Microsoft Music Publishing
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Kazuma Jinnouchi              ASCAP     436005882       ASCAP 100%
                                                               T9173353645   Microsoft Music Publishing
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Kazuma Jinnouchi              ASCAP     436005882       ASCAP 100%
                                                               T9173353656   Microsoft Music Publishing
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Kazuma Jinnouchi              ASCAP     436005882       ASCAP 100%
                                                               T9173353667   Microsoft Music Publishing
                                                                                                   ASCAP
Kazuma Jinnouchi              ASCAP     436005882       ASCAP 100%
                                                               T9173354795   Microsoft Music Publishing
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Kazuma Jinnouchi              ASCAP     436005882       ASCAP/100%
                                                               T9173354808   Microsoft Music Publishing
                                                                                                   ASCAP            349532445
Kazuma Jinnouchi              ASCAP     436005882       ASCAP/100%
                                                               T9173354819   Microsoft Music Publishing
                                                                                                   ASCAP            349532445
Kazuma Jinnouchi              ASCAP     436005882       ASCAP 100%
                                                               T9173355527   Microsoft Music Publishing
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Kazuma Jinnouchi              ASCAP     436005882       ASCAP 100%
                                                               T9173355549   Microsoft Music Publishing
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Kazuma Jinnouchi              ASCAP     436005882       ASCAP 100%
                                                               T9173355550   Microsoft Music Publishing
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Order        Project       Project                   Workin Album Title                                      Disc #       Track #
             release                                 g Track
                                                     (Song)
                                                     Title

        15    10/30/2015   Halo 5: Guardians                  Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_cin_120                                                      1         18
        15    10/30/2015   Halo 5: Guardians                  Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_Grotto                                                       1         19
        15    10/30/2015   Halo 5: Guardians                  Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_SangheliosBattle                                             1         20
        15    10/30/2015   Halo 5: Guardians                  Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_BlueTeam                                                     1         21
        15    10/30/2015   Halo 5: Guardians         OSR_VTOLHalo 5: Guardians (Original Game Soundtrack)             1         22
        15    10/30/2015   Halo 5: Guardians                  Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_SentryShip                                                   1         23
        15    10/30/2015   Halo 5: Guardians                  Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_Evacuation                                                   1         24
        15    10/30/2015   Halo 5: Guardians                  Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_Arrival                                                      2          1
        15    10/30/2015   Halo 5: Guardians                  Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_MantisOsirisVer                                              2          2
        15    10/30/2015   Halo 5: Guardians                  Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_GenesisBattle                                                2          3
        15    10/30/2015   Halo 5: Guardians                  Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_Domain                                                       2          4
        15    10/30/2015   Halo 5: Guardians                  Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_Resurface                                                    2          6
        15    10/30/2015   Halo 5: Guardians                  Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_Phaeton                                                      2          7
        15    10/30/2015   Halo 5: Guardians         OSR_cin_190A
                                                              Halo 5: Guardians (Original Game Soundtrack)            2          8
        15    10/30/2015   Halo 5: Guardians         OSR_cin_190B
                                                              Halo 5: Guardians (Original Game Soundtrack)            2          9
        15    10/30/2015   Halo 5: Guardians         OSR_SpartanLockeTheme
                                                              Halo 5: Guardians (Original Game Soundtrack)            2         11
        15    10/30/2015   Halo 5: Guardians                  Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_LockeSuite_Act1                                              2         12
        15    10/30/2015   Halo 5: Guardians                  Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_LockeSuite_Act2                                              2         13
        15    10/30/2015   Halo 5: Guardians                  Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_LockeSuite_Act3                                              2         14
        15    10/30/2015   Halo 5: Guardians                  Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_LockeSuite_Act4                                              2         15
        15    10/30/2015   Halo 5: Guardians                  Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_Infinity_Jukebox01                                           3          1
        15    10/30/2015   Halo 5: Guardians                  Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_Preludes                                                     3          2
        15    10/30/2015   Halo 5: Guardians                  Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_HaloThemeOsirisVer_v02                                       1          1
        15    10/30/2015   Halo 5: Guardians                  Halo 5: Guardians (Original Game Soundtrack)
                                                     OSR_MCBattleA                                                    2          5
        15    10/30/2015   Halo 5: Guardians         OSR_CovenantPrayerChant
                                                              Halo 5: Guardians (Original Game Soundtrack)            2         10
        16    12/12/2015   Halo Fall of Reach                 Halo Fall of Reach                                      1          1
        16    12/12/2015   Halo Fall of Reach                 Halo Fall of Reach                                      1          2
        16    12/12/2015   Halo Fall of Reach                 Halo Fall of Reach                                      1          3
        16    12/12/2015   Halo Fall of Reach                 Halo Fall of Reach                                      1          4
                               Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 86 of 104


Song Title                                                            Performing Artist(s)




Enemy of My Enemy                                                     Kazuma Jinnouchi
Honor's Song                                                          Kazuma Jinnouchi
Warrior World                                                         Kazuma Jinnouchi
Covenant Prayers                                                      Kazuma Jinnouchi
Cloud Chariot                                                         Kazuma Jinnouchi
Sentry Battle                                                         Kazuma Jinnouchi
Worldquake                                                            Kazuma Jinnouchi
Advent                                                                Kazuma Jinnouchi
Walk Softly                                                           Kazuma Jinnouchi
Genesis                                                               Kazuma Jinnouchi
Dominion                                                              Kazuma Jinnouchi
Sentinel Song                                                         Kazuma Jinnouchi
Crypt                                                                 Kazuma Jinnouchi
End Game                                                              Kazuma Jinnouchi
Reunion                                                               Kazuma Jinnouchi
Jameson Locke                                                         Kazuma Jinnouchi
Osiris Suite, Act 1                                                   Kazuma Jinnouchi
Osiris Suite, Act 2                                                   Kazuma Jinnouchi
Osiris Suite, Act 3                                                   Kazuma Jinnouchi
Osiris Suite, Act 4                                                   Kazuma Jinnouchi
On Deck                                                               Kazuma Jinnouchi
Préludes No. 4, Les sons et les parfums tournent dans l'air du soir   Iain Farrington
Halo Canticles                                                        Kazuma Jinnouchi
The Trials                                                            Kazuma Jinnouchi
Blue Team                                                             Kazuma Jinnouchi
Send a Message                                                        Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
Choose Our Weapons                                                    Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
Remembered Sins                                                       Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
More Than Luck                                                        Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
                            Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 87 of 104


Writer(s)                                Societ   IPI # from web   Societ ISWC: ICE    Publisher   Pub         Society IPI# from Malia
                                                  for writers                                      Confirmed
                                         y                         y            code   (s)
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                                                                   by MJ
Kazuma Jinnouchi                         ASCAP 436005882 ASCAP 100%
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Kazuma Jinnouchi                         ASCAP 436005882 ASCAP 100%
                                                                  T9173356199          Microsoft Music Publishing
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Kazuma Jinnouchi                         ASCAP 436005882 ASCAP 100%
                                                                  T9173356213          Microsoft Music Publishing
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Kazuma Jinnouchi                         ASCAP 436005882 ASCAP 100%
                                                                  T9173354182          Microsoft Music Publishing
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Kazuma Jinnouchi                         ASCAP 436005882 ASCAP/100%
                                                                  T9173354206          Microsoft Music Publishing
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Kazuma Jinnouchi                         ASCAP 436005882 ASCAP 100%
                                                                  T9173354240          Microsoft Music Publishing
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Kazuma Jinnouchi                         ASCAP 436005882 ASCAP 100%
                                                                  T9173348497          Microsoft Music Publishing
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Kazuma Jinnouchi                         ASCAP 436005882 ASCAP/100%
                                                                  T9169633436          Microsoft Music Publishing
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Kazuma Jinnouchi                         ASCAP 436005882 ASCAP 100%
                                                                  T9173348511          Microsoft Music Publishing
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Kazuma Jinnouchi                         ASCAP 436005882 ASCAP 100%
                                                                  T9173348533          Microsoft Music Publishing
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Kazuma Jinnouchi                         ASCAP 436005882 ASCAP/100%
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Kazuma Jinnouchi                         ASCAP 436005882 ASCAP 100%
                                                                  T9173350373          Microsoft Music Publishing
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Kazuma Jinnouchi                         ASCAP 436005882 ASCAP/100%
                                                                  T9173350395          Microsoft Music Publishing
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Kazuma Jinnouchi                         ASCAP 436005882 ASCAP 100%
                                                                  T9173351796          Microsoft Music Publishing
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Kazuma Jinnouchi                         ASCAP 436005882 ASCAP 100%
                                                                  T9173351809          Microsoft Music Publishing
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Kazuma Jinnouchi                         ASCAP 436005882 ASCAP 100%
                                                                  T9169633414          Microsoft Music Publishing
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Kazuma Jinnouchi                         ASCAP 436005882 ASCAP 100%
                                                                  T9169630448          Microsoft Music Publishing
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Kazuma Jinnouchi                         ASCAP 436005882 ASCAP 100%
                                                                  T9169632319          Microsoft Music Publishing
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Kazuma Jinnouchi                         ASCAP 436005882 ASCAP 100%
                                                                  T9169632320          Microsoft Music Publishing
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Kazuma Jinnouchi                         ASCAP 436005882 ASCAP 100%
                                                                  T9169632342          Microsoft Music Publishing
                                                                                                             ASCAP
Kazuma Jinnouchi                         ASCAP 436005882 ASCAP 100%
                                                                  T9173351810          Microsoft Music Publishing
                                                                                                             ASCAP
Claude Debussy                           Public Domain                                 n/a                   Public Domain
Kazuma Jinnouchi                         ASCAP 436005882, 126846658,
                                                           ASCAP 100%
                                                                  T9169630437
                                                                      130210548        Microsoft Music Publishing
                                                                                                             ASCAP            349532445
Kazuma Jinnouchi                         ASCAP 436005882, 126846658
                                                           ASCAP 100%
                                                                  T9169634575
                                                                     , 130210548       Microsoft Music Publishing
                                                                                                             ASCAP
Kazuma Jinnouchi                         ASCAP 436005882 , 126846658
                                                           ASCAP/100%
                                                                  T9173354364
                                                                      , 130210548      Microsoft Music Publishing
                                                                                                             ASCAP            349532445
Tom Salta (themes by Kazuma Jinnouchi)
Tom Salta (themes by Kazuma Jinnouchi)
Tom Salta (themes by Kazuma Jinnouchi)
Tom Salta (themes by Kazuma Jinnouchi)
                           Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 88 of 104


Notes           Malia Questions




COOL Music has never provided the MU Agreement.
COOL Music has never provided the MU Agreement.
COOL Music has never provided the MU Agreement.
COOL Music has never provided the MU Agreement.
COOL Music has never provided the MU Agreement.

                                                  ? Reference Listed on CP 3382306
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Order        Project       Project                   Workin Album Title                         Disc #       Track #
             release                                 g Track
                                                     (Song)
                                                     Title

        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1          5
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1          6
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1          7
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1          8
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1          9
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         10
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         11
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         12
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         13
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         14
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         15
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         16
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         17
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         18
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         19
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         20
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         21
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         22
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         23
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         24
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         25
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         26
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         27
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         28
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         29
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         30
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         31
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         32
        16    12/12/2015   Halo Fall of Reach               Halo Fall of Reach                           1         33
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Song Title                                            Performing Artist(s)




Steal Into Darkness                                   Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
First Reveille                                        Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
On Your Feet                                          Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
Lesson One                                            Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
All or Nothing                                        Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
High Altitude Maneuver                                Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
Another Walk In The Woods                             Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
Canis Lupis                                           Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
Noncommissioned                                       Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
The Procedure                                         Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
Spent Wisely                                          Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
My Own Strength                                       Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
The Briefest Glimpse                                  Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
To Catch A Traitor                                    Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
Outside of the Box                                    Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
Unholy Alliance                                       Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
Spartans Now                                          Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
Chain of Command                                      Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
Fire At Will                                          Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
Immoveable Object                                     Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
Hammer                                                Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
Like A Glove                                          Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
What If We Miss                                       Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
First Contact                                         Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
Locked In Here With Us                                Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
For Sam, For Us                                       Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
Will You Follow Me                                    Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
The Fall of Reach                                     Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
Take This Life                                        Tom Salta, members of the New York Film Chorale, and members of the Keystone State Boychoir
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Writer(s)                                   Societ   IPI # from web   Societ ISWC: ICE    Publisher   Pub         Society IPI# from Malia
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Tom Salta (themes by Kazuma Jinnouchi)
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Tom Salta (themes by Kazuma Jinnouchi) lyrics by Frank O'Connor?
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Notes   Malia Questions
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Order        Project       Project                   Workin Album Title                              Disc #       Track #
             release                                 g Track
                                                     (Song)
                                                     Title

        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            1          1
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            1          2
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            1          3
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            1          4
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            1          5
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            1          6
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            1          7
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            1          8
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            1          9
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            1         10
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            1         11
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            1         12
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            1         13
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            1         14
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            1         15
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            1         16
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            1         17
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            1         18
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            1         19
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            1         20
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            1         21
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            2          1
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            2          2
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            2          3
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            2          4
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            2          5
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            2          6
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            2          7
        17     2/17/2017   Halo Wars 2                      Halo Wars 2 (Original Game Soundtrack)            2          8
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Song Title                                         Performing Artist(s)




Recommissioned                                     Gordy Haab, Brian Trifon and Brian Lee White
Barren                                             Gordy Haab, Brian Trifon and Brian Lee White
Isabel's Awakening                                 Gordy Haab, Brian Trifon and Brian Lee White
Antediluvian                                       Gordy Haab, Brian Trifon and Brian Lee White
Amethyst                                           Gordy Haab, Brian Trifon and Brian Lee White
Arise, Goodbye                                     Gordy Haab, Brian Trifon and Brian Lee White
Symbiotic                                          Gordy Haab, Brian Trifon and Brian Lee White
The Banishing                                      Gordy Haab, Brian Trifon and Brian Lee White
Run Little Demons                                  Gordy Haab, Brian Trifon and Brian Lee White
It's Done                                          Gordy Haab, Brian Trifon and Brian Lee White
Bon Voyage, Bon Chance                             Gordy Haab, Brian Trifon and Brian Lee White
Empathy                                            Gordy Haab, Brian Trifon and Brian Lee White
Infamy                                             Gordy Haab, Brian Trifon and Brian Lee White
Heads Up Display                                   Gordy Haab, Brian Trifon and Brian Lee White
Steel Hand, Gloves Off                             Gordy Haab, Brian Trifon and Brian Lee White
Abolition                                          Gordy Haab, Brian Trifon and Brian Lee White
Catastrophic Failure                               Gordy Haab, Brian Trifon and Brian Lee White
Demonslayer                                        Gordy Haab, Brian Trifon and Brian Lee White
Excision                                           Gordy Haab, Brian Trifon and Brian Lee White
Inscision                                          Gordy Haab, Brian Trifon and Brian Lee White
Non-Euclidean                                      Gordy Haab, Brian Trifon and Brian Lee White
Cratered                                           Gordy Haab, Brian Trifon and Brian Lee White
Scorched Earth                                     Gordy Haab, Brian Trifon and Brian Lee White
Simulacra                                          Gordy Haab, Brian Trifon and Brian Lee White
Tactical Error                                     Gordy Haab, Brian Trifon and Brian Lee White
Strategic Feint                                    Gordy Haab, Brian Trifon and Brian Lee White
Gambit                                             Gordy Haab, Brian Trifon and Brian Lee White
Calculated Risk                                    Gordy Haab, Brian Trifon and Brian Lee White
Collateral Harm                                    Gordy Haab, Brian Trifon and Brian Lee White
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Writer(s)                                      Societ   IPI # from web   Societ ISWC: ICE    Publisher   Pub         Society IPI# from Malia
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Notes             Malia Questions




Also on Vinyl A
Also on Vinyl A
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Also on Vinyl A
Also on Vinyl B
Also on Vinyl B
Also on Vinyl B
Also on Vinyl B
Also on Vinyl B
Also on Vinyl B
Also on Vinyl C
Also on Vinyl C
Also on Vinyl C
Also on Vinyl C

Also on Vinyl C
Also on Vinyl C
Also on Vinyl C
Also on Vinyl "D" (CD2)
Also on Vinyl "D" (CD2)
Also on Vinyl C Paul Lipson coordinated with Blur Studios
Also on Vinyl "D" (CD2)
Also on Vinyl "D" (CD2)

Also on Vinyl "D" (CD2)
Also on Vinyl "D" (CD2)
                               Case 2:20-cv-00882-MLP Document 141-1 Filed 01/31/22 Page 97 of 104


Order        Project       Project                         Workin Album Title                                Disc #       Track #
             release                                       g Track
                                                           (Song)
                                                           Title

        17     2/17/2017   Halo Wars 2                              Halo Wars 2 (Original Game Soundtrack)            2          9
        17     2/17/2017   Halo Wars 2                              Halo Wars 2 (Original Game Soundtrack)            2         10
        17     2/17/2017   Halo Wars 2                              Halo Wars 2 (Original Game Soundtrack)            2         11
        17     2/17/2017   Halo Wars 2                              Halo Wars 2 (Original Game Soundtrack)            2         12
        17     2/17/2017   Halo Wars 2                              Halo Wars 2 (Original Game Soundtrack)            2         13
        17     2/17/2017   Halo Wars 2                              Halo Wars 2 (Original Game Soundtrack)            2         14
        17     2/17/2017   Halo Wars 2                              Halo Wars 2 (Original Game Soundtrack)            2         15
        17     2/17/2017   Halo Wars 2                              Halo Wars 2 (Original Game Soundtrack)            2         16
        17     2/17/2017   Halo Wars 2                              Halo Wars 2 (Original Game Soundtrack)            2         17
        18     9/26/2017   Halo Wars 2: Awakening the Nightmare     Halo Wars 2: Awakening the Nightmare              1          1
        18     9/26/2017   Halo Wars 2: Awakening the Nightmare     Halo Wars 2: Awakening the Nightmare              1          2
        18     9/26/2017   Halo Wars 2: Awakening the Nightmare     Halo Wars 2: Awakening the Nightmare              1          3
        18     9/26/2017   Halo Wars 2: Awakening the Nightmare     Halo Wars 2: Awakening the Nightmare              1          4
        18     9/26/2017   Halo Wars 2: Awakening the Nightmare     Halo Wars 2: Awakening the Nightmare              1          5
        18     9/26/2017   Halo Wars 2: Awakening the Nightmare     Halo Wars 2: Awakening the Nightmare              1          6
        18     9/26/2017   Halo Wars 2: Awakening the Nightmare     Halo Wars 2: Awakening the Nightmare              1          7
        18     9/26/2017   Halo Wars 2: Awakening the Nightmare     Halo Wars 2: Awakening the Nightmare              1          8
        18     9/26/2017   Halo Wars 2: Awakening the Nightmare     Halo Wars 2: Awakening the Nightmare              1          9
        18     9/26/2017   Halo Wars 2: Awakening the Nightmare     Halo Wars 2: Awakening the Nightmare              1         10
        18     9/26/2017   Halo Wars 2: Awakening the Nightmare     Halo Wars 2: Awakening the Nightmare              1         11
        18     9/26/2017   Halo Wars 2: Awakening the Nightmare     Halo Wars 2: Awakening the Nightmare              1         12
        18      1/1/2018   Halo Infinite                    Promise n/a                                      n/a          n/a
        18      1/1/2018   Halo Infinite                    Wonder n/a                                       n/a          n/a
        18      1/1/2018   Halo Infinite                    E3_2018 n/a                                      n/a          n/a
        18      1/1/2018   Halo Infinite                            n/a
                                                            HCS_Theme                                        n/a          n/a
        18      1/1/2018   Halo Infinite                    MC      n/a                                      n/a          n/a
        18      1/1/2018   Halo Infinite                    Camp01 n/a                                       n/a          n/a
        18      1/1/2018   Halo Infinite                    Combat01n/a                                      n/a          n/a
        18      1/1/2018   Halo Infinite                            n/a
                                                            Dungeon01                                        n/a          n/a
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Song Title                                      Performing Artist(s)




Fog of War                                      Gordy Haab, Brian Trifon and Brian Lee White
Battle Aspect                                   Gordy Haab, Brian Trifon and Brian Lee White
Singular Vision                                 Gordy Haab, Brian Trifon and Brian Lee White
Pinch Maneuver                                  Gordy Haab, Brian Trifon and Brian Lee White
Last Stand                                      Gordy Haab, Brian Trifon and Brian Lee White
Energy Efficient                                Gordy Haab, Brian Trifon and Brian Lee White
Dug In                                          Gordy Haab, Brian Trifon and Brian Lee White
Bivouacked                                      Gordy Haab, Brian Trifon and Brian Lee White
Legitimate Strategy                             Gordy Haab, Brian Trifon and Brian Lee White
Do Not Disturb                                  Gordy Haab, Brian Trifon and Brian Lee White
Tread Softly                                    Gordy Haab, Brian Trifon and Brian Lee White
Mindfulness                                     Gordy Haab, Brian Trifon and Brian Lee White
Diseased Darkness                               Gordy Haab, Brian Trifon and Brian Lee White
Fevered Dread                                   Gordy Haab, Brian Trifon and Brian Lee White
No Retreat                                      Gordy Haab, Brian Trifon and Brian Lee White
No Surrender                                    Gordy Haab, Brian Trifon and Brian Lee White
That Old Life                                   Gordy Haab, Brian Trifon and Brian Lee White
Blood Oath                                      Gordy Haab, Brian Trifon and Brian Lee White
Corroded                                        Gordy Haab, Brian Trifon and Brian Lee White
Ossified                                        Gordy Haab, Brian Trifon and Brian Lee White
Uncharitable                                    Gordy Haab, Brian Trifon and Brian Lee White
n/a                                             Kazuma Jinnouchi
n/a                                             Kazuma Jinnouchi
n/a                                             Kazuma Jinnouchi
n/a                                             Kazuma Jinnouchi
n/a                                             Kazuma Jinnouchi
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n/a                                             Kazuma Jinnouchi
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Kazuma Jinnouchi                             Non Society                                  n/a                     Non Society
Kazuma Jinnouchi                             Non Society                                  n/a                     Non Society
Kazuma Jinnouchi                             Non Society                                  n/a                     Non Society
Kazuma Jinnouchi                             Non Society                                  n/a                     Non Society
Kazuma Jinnouchi                             Non Society                                  n/a                     Non Society
Kazuma Jinnouchi                             Non Society                                  n/a                     Non Society
Kazuma Jinnouchi                             Non Society                                  n/a                     Non Society
Kazuma Jinnouchi                             Non Society                                  n/a                     Non Society
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Also on Vinyl "D" (CD2)
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Order      Project        Project                   Workin Album Title                                        Disc #       Track #
           release                                  g Track
                                                    (Song)
                                                    Title

     18         1/1/2018 Halo Infinite                        n/a
                                                    Exploration01                                             n/a          n/a
     18         1/1/2018 Halo Infinite                        n/a
                                                    Exploration03                                             n/a          n/a
     18         1/1/2018 Halo Infinite              Vehicle01 n/a                                             n/a          n/a
    10.5   NA            Halo 4                               Halo 4: Original Soundtrack (Deluxe Edition):            1          1
    10.5   NA            Halo 4                               Halo 4: Original Soundtrack (Deluxe Edition):            1          2
    10.5   NA            Halo 4                               Halo 4: Original Soundtrack (Deluxe Edition):            1          3
    10.5   NA            Halo 4                               Halo 4: Original Soundtrack (Deluxe Edition):            1          4
    10.5   NA            Halo 4                               Halo 4: Original Soundtrack (Deluxe Edition):            1          5
    10.5   NA            Halo 4                               Halo 4: Original Soundtrack (Deluxe Edition):            1          6
    10.5   NA            Halo 4                               Halo 4: Original Soundtrack (Deluxe Edition):            1          7
    10.5   NA            Halo 4                               Halo 4: Original Soundtrack (Deluxe Edition):            1          8
    10.5   NA            Halo 4                               Halo 4: Original Soundtrack (Deluxe Edition):            1          9
    10.5   NA            Halo 4                               Halo 4: Original Soundtrack (Deluxe Edition):            1         10
    10.5   NA            Halo 4                               Halo 4: Original Soundtrack (Deluxe Edition):            1         11
    10.5   NA            Halo 4                               Halo 4: Original Soundtrack (Deluxe Edition):            1         12
    10.5   NA            Halo 4                               Halo 4: Original Soundtrack (Deluxe Edition):            1         13
    10.5   NA            Halo 4                               Halo 4: Original Soundtrack (Deluxe Edition):            1         14
    10.5   NA            Halo 4                               Halo 4: Original Soundtrack (Deluxe Edition):            1         15
    10.5   NA            Halo 4                               Halo 4: Original Soundtrack (Deluxe Edition):            1         16
    10.5   NA            Halo 4                               Halo 4: Original Soundtrack (Deluxe Edition):            1         17
    10.5   NA            Halo 4                               Halo 4: Original Soundtrack (Deluxe Edition):            1         18
    10.5   NA            Halo 4                               Halo 4: Original Soundtrack (Deluxe Edition):            1         19
    10.5   NA            Halo 4                               Halo 4: Original Soundtrack (Deluxe Edition):            1         20
    10.5   NA            Halo 4                               Halo 4: Original Soundtrack (Deluxe Edition):            1         21
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Song Title                                              Performing Artist(s)




n/a                                                     Kazuma Jinnouchi
n/a                                                     Kazuma Jinnouchi
n/a                                                     Kazuma Jinnouchi
Awakening                                               Neil Davidge
Belly of the Beast                                      Neil Davidge
Requiem                                                 Neil Davidge
Legacy                                                  Neil Davidge
Faithless                                               Neil Davidge
Haven                                                   Neil Davidge
Nemesis                                                 Neil Davidge
Ascendancy                                              Neil Davidge
Solace                                                  Neil Davidge
To Galaxy                                               Neil Davidge
Immaterial                                              Neil Davidge
117                                                     Hollywood Studio Symphony
Arrival                                                 Neil Davidge
Revival                                                 Neil Davidge
Green and Blue                                          Neil Davidge
Awakening (Gui Boratto Remix)                           Neil Davidge
To Galaxy (Sander Van Doorn & Julian Jordan Remix)      Neil Davidge
Ascendancy (Caspa Remix)                                Neil Davidge
Revival (DJ Skee & THX Remix)                           Neil Davidge
Requiem (Bobby Tank Remix)                              Neil Davidge
The Beauty of Cortana (Apocalyptica vs. Neil Davidge)   Neil Davidge
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Kazuma Jinnouchi                Non Society                                   n/a                     Non Society
Kazuma Jinnouchi                Non Society                                   n/a                     Non Society
Kazuma Jinnouchi                Non Society                                   n/a                     Non Society
Neil James Davidge
Neil James Davidge
Neil James Davidge              PRS
Neil James Davidge              PRS
Neil James Davidge              PRS
Neil James Davidge              PRS
Neil James Davidge              PRS
Neil James Davidge              PRS
Neil James Davidge              PRS
Neil James Davidge              PRS
Neil James Davidge              PRS
Kazuma Jinnouchi
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